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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO


 In re:                                     )
                                            )   Case No. 17-17465-KHT
 BADLANDS ENERGY, INC.                      )   Chapter 11
 EIN: XX-XXXXXXX,                           )
       Debtor.                              )
                                            )
 In re:                                     )
                                            )   Case No. 17-17467-KHT
 BADLANDS PRODUCTION COMPANY                )   Chapter 11
 EIN: XX-XXXXXXX,                           )
       Debtor.                              )
                                            )
 In re:                                     )
                                            )   Case No. 17-17469-KHT
 BADLANDS ENERGY-UTAH, LLC                  )   Chapter 11
 EIN: XX-XXXXXXX,                           )
       Debtor.                              )
                                            )
 In re:                                     )
                                            )   Case No. 17-17471-KHT
 MYTON OILFIELD RENTALS, LLC                )   Chapter 11
 EIN: XX-XXXXXXX,                           )
       Debtor.                              )   Jointly Administered Under
                                            )   Case No. 17-17465-KHT
                                            )


 ______________________________________________________________________________

     DEBTORS’ SECOND AMENDED JOINT PLAN OF LIQUIDATION DATED APRIL 6, 2018
 ______________________________________________________________________________




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                                    INTRODUCTION

        This Amended Joint Plan of Liquidation under chapter 11 of Title 11 of the United
 States Code proposes to pay creditors of Badlands Energy, Inc., Badlands Production
 Company, Badlands Energy-Utah, LLC and Myton Oilfield Rentals, LLC, from the net
 proceeds of the orderly liquidation of all of the Debtors’ remaining assets, accounts
 receivable, and any net proceeds of the Debtors’ Avoidance Actions and other litigation
 claims.

        This Plan provides for one class of priority claims; four classes of secured claims;
 one class of general unsecured claims; one class of intercompany claims, and one class of
 equity security holders. This Plan also provides for the payment of unclassified
 administrative and priority tax claims.

       On the Effective Date, the Debtors will transfer all of the Trust Assets to the
 Badlands Liquidating Trust, free and clear of all liens, claims, interests, and
 encumbrances, but subject to the terms of this Plan (including any liens, claims, and
 encumbrances preserved thereunder). Thereafter, the Trust, acting through the Trustee
 designated in the Plan, will administer and liquidate those assets and distribute the net
 proceeds thereof to the holders of Allowed Claims against the Debtors as provided in,
 and pursuant to the priorities established by, this Plan.

        All creditors and equity security holders should refer to Articles II and III of this
 Plan for information regarding the precise treatment of their claims. A disclosure
 statement that provides more detailed information regarding this Plan and the rights of
 creditors and equity security holders will be circulated in support of this Plan.

       YOUR RIGHTS MAY BE AFFECTED. YOU SHOULD READ THESE PAPERS CAREFULLY AND
 DISCUSS THEM WITH YOUR ATTORNEY, IF YOU HAVE ONE. (IF YOU DO NOT HAVE AN
 ATTORNEY, YOU MAY WISH TO CONSULT ONE.)



                       DEFINITIONS AND INTERPRETATION

       Definitions. The following terms used herein shall have the respective meanings
 defined below (such meanings to be equally applicable to both the singular and plural):

        1.1.     Administrative Claim. Any right to payment constituting a cost or
 expense of administration of the Chapter 11 Cases allowed under sections 503(b),
 507(a)(1), and 1114(e) of the Bankruptcy Code, including, without limitation, any actual
 and necessary costs and expenses of preserving the Debtors’ estate; any actual and
 necessary costs and expenses of operating the Debtors’ business; any indebtedness or
 obligations incurred or assumed by the Debtors, as Debtors-in-possession, during the
 Chapter 11 Cases.



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        1.2.      Allowed. With reference to any Claim, (i) any Claim against the Debtors
 that has been listed by the Debtors in the Schedules, as such Schedules may be amended
 by the Debtors from time to time in accordance with Bankruptcy Rule 1009, as liquidated
 in amount and not disputed or contingent and for which no contrary proof of Claim has
 been filed, (ii) any timely filed Claim as to which no objection to allowance has been
 interposed in accordance with this Plan, or as to which any objection has been determined
 by a Final Order to the extent such objection is determined in favor of the respective
 holder, or (iii) any Claim expressly allowed by a Final Order or under this Plan.

        1.3.     Avoidance Actions. Any actions commenced, or that may be commenced,
 before or after the Effective Date pursuant to Chapter 5 of the Bankruptcy Code.

        1.4.    Badlands Liquidating Trust Agreement. The agreement, substantially in
 the form of Exhibit 1 to this Plan, as it may be subsequently modified, that governs the
 creation, operation, and administration of the Trust.

        1.5.     Bankruptcy Code. Title 11 of the United States Code, as amended from
 time to time, as applicable to the Chapter 11 Cases.

        1.6.    Bankruptcy Court. The United States Bankruptcy Court for the District of
 Colorado, having jurisdiction over the Chapter 11 Cases and, to the extent of any
 reference made under section 157 of title 28 of the United States Code, the unit of such
 District Court having jurisdiction over the Chapter 11 Cases under section 151 of title 28
 of the United States Code.

       1.7.     Bankruptcy Rules. The Federal Rules of Bankruptcy Procedure as
 promulgated by the United States Supreme Court under section 2075 of title 28 of the
 United States Code, as amended from time to time, applicable to these Chapter 11 Cases,
 and any Local Rules of the Bankruptcy Court.

          1.8.    Bar Date. January 19, 2018 for all Claimants, including Governmental
 Units.

        1.9.    Business Day. Any day other than a Saturday, a Sunday, or any other day
 on which banking institutions in Denver, Colorado are required or authorized to close by
 law or executive order.

          1.10.   Cash. Legal tender of the United States of America.

         1.11.   Causes of Action. Any and all actions, causes of action, derivative
 litigation claims, claims against directors and officers, liabilities, obligations, rights, suits,
 damages, judgments, claims, and demands whatsoever, other than Avoidance Actions,
 whether known or unknown, existing or hereafter arising, in law, equity, or otherwise,


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 based in whole or in part upon any act or omission or other event occurring prior to the
 Petition Date or during the course of the Chapter 11 Cases.

        1.12.    Chapter 11 Cases. The chapter 11 cases of the Debtors.

        1.13.    Claim. The meaning set forth in section 101(5) of the Bankruptcy Code.

         1.14.    Claims Register. The list maintained by the Clerk of the Bankruptcy Court
 listing all Claims filed in the Chapter 11 Cases.

        1.15.   Class. Any group of Claims or Interests classified by the Plan pursuant to
 section 1122(a)(1) of the Bankruptcy Code.

       1.16.   Claim Objection Deadline. The first Business Day that is one hundred
 and twenty (120) days after the Effective Date unless such deadline is extended by the
 Court for good cause.

        1.17.   Collateral. Any property or interest in property of the Estates of the
 Debtors subject to a validly perfected lien, charge, or other encumbrance to secure the
 payment or performance of a Claim, which lien, charge, or other encumbrance is not
 subject to avoidance under the Bankruptcy Code.

        1.18.   Confirmation Date. The date on which the Clerk of the Bankruptcy Court
 enters the Confirmation Order.

        1.19.  Confirmation Hearing. The hearing to be held by the Bankruptcy Court
 regarding confirmation of the Plan, as such hearing may be adjourned or continued from
 time to time.

       1.20.   Confirmation Order. The order of the Bankruptcy Court confirming the
 Plan pursuant to section 1129 of the Bankruptcy Code.

       1.21.  Consolidated Estates. The substantively-consolidated Estates of the
 Debtors pursuant to Section 8.1 of the Plan.

        1.22.  Crescent Point APA. That certain Asset Purchase Agreement dated
 December 1, 2017 among Debtor Badlands Energy-Utah, LLC, as the Seller, and Crescent
 Point Energy, U.S. Corp., as Buyer.

        1.23.    Crescent Point Sale Order. The Order (A) Approving Asset Purchase
 Agreement between Debtor Badlands Energy-Utah, LLC and Crescent Point Energy U.S.
 Corp., (B) Authorizing the Sale of Substantially all Property Pursuant Thereto Free and
 Clear of All Liens, Claims, Encumbrances, and Interests, (C) Authorizing the Assumption
 and Assignment of Contracts, and (D) Granting Related Relief pursuant to which the
 Crescent Point Sale Transaction was approved by the Bankruptcy Court.
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        1.24.  Crescent Point Sale Transaction. The sale of substantially all of the assets
 of Debtor Badlands Energy-Utah, LLC to Crescent Point Energy, U.S. Corp. pursuant to
 the Crescent Point APA and the Crescent Point Sale Order.

        1.25.    Debtor and Debtors. Badlands Energy, Inc., Badlands Production
 Company, Badlands Energy-Utah, LLC and Myton Oilfield Rentals, LLC on and after the
 Petition Date, and when the context so requires, in their capacities as debtors and debtors-
 in-possession under sections 1107 and 1108 of the Bankruptcy Code. For the avoidance of
 doubt, each of the Debtors is individually a Debtor under the Plan.

        1.26.    Deficiency Claim. Any portion of a Claim (a) to the extent the value of the
 holder’s interest in the Collateral securing such Claim is less than the amount of such
 Claim, or (b) to the extent the amount of a Claim subject to setoff is less than the amount
 of the Claim, each as determined by the Bankruptcy Court under Bankruptcy Code
 section 506(a).

        1.27.   Disclosure Statement. The disclosure statement relating to the Plan,
 including, without limitation, all exhibits thereto, as approved by the Bankruptcy Court
 pursuant to section 1125 of the Bankruptcy Code.

        1.28.   Disputed. With respect to any Claim or Interest, any Claim or Interest to
 which the Debtors, Trustee, or any other party in interest authorized by the Plan has
 interposed a timely objection or request for estimation in accordance with the Bankruptcy
 Code and the Bankruptcy Rules or that is otherwise disputed by the Debtors or Trustee
 in accordance with applicable law, which objection, request for estimation, or dispute has
 not been settled, waived, withdrawn, or determined by a Final Order. A Claim that is
 Disputed by the Debtors or Trustee as to its amount only shall be deemed Allowed in the
 amount the Debtors or Trustee admit to be owing, if any, and Disputed as to the excess.

         1.29.   Disputed Claims Reserve. A reserve established to provide for potential
 distributions to Disputed Claims in the event that such Disputed Claims are eventually
 Allowed. The Disputed Claims Reserve shall consist of the following sub-reserves: (i)
 Sub-Reserve: Secured Tax Claim Reserve; (ii) Sub-Reserve: Secured Other Claim Reserve;
 (iii) Sub-Reserve: Wind-Down Reserve; and (iv) Sub-Reserve: Unencumbered Trust Cash
 Claims, with each such sub-reserve corresponding to a source of payment for potentially
 Disputed Claims treated under the Plan. A Disputed Claim shall not be entitled to
 payment from any sub-reserve corresponding to a source of payment that would not be
 available to satisfy such Claim if it were Allowed. In the event that any Disputed Claim
 is Disallowed, settled or Allowed, the funds within the applicable sub-reserve
 attributable to such Disputed Claim that are no longer needed to satisfy the Allowed
 amount of such Claim shall be released to the corresponding Secured Tax Claim Reserve,
 Secured Other Claim Reserve or Wind-Down Reserve (or, in the case of the
 Unencumbered Trust Cash Claims subreserve, to Unencumbered Trust Cash).

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        1.30.  Distribution. The distribution, in accordance with the Plan, of Cash or
 other Property, as the case may be, or the Cash or other Property as distributed.

          1.31.   Effective Date. A Business Day on or after the Confirmation Date
 specified by the Debtor on which (i) no stay of the Confirmation Order is in effect, and
 (ii) the conditions to the effectiveness of the Plan specified in Section 7.2 hereof have been
 satisfied or waived by the Debtors.

        1.32.    Entity. The meaning set forth in section 101(15) of the Bankruptcy Code.

        1.33.    Estates. The estate of the Debtors in the Chapter 11 Cases as created under
 section 541 of the Bankruptcy Code.

        1.34.    Exculpated Parties. The Debtors or any of their respective officers,
 directors, financial advisors, attorneys, employees, and representatives, acting in such
 capacity.

        1.35.   Executory Contract. Any contract to which a Debtor is a party that is
 subject to assumption or rejection under Sections 365 or 1123 of the Bankruptcy Code.

         1.36.     Final Order. As applicable, an order or judgment, entered by the
 Bankruptcy Court or other court of competent jurisdiction with respect to the relevant
 subject matter, that has not been vacated or reversed, and as to which (i) no stay is in
 effect, (ii) the time to seek rehearing, file a notice of appeal or petition for certiorari has
 expired, (iii) no appeal, request for stay, petition seeking certiorari, or other review has
 been timely filed and is pending and (iv) any appeal that has been taken, any petition for
 certiorari, or motion for a new trial, reargument or rehearing that has been or may be
 filed has been resolved by the highest court to which the order or judgment was appealed
 or from which certiorari was sought; provided, however, that the possibility that a motion
 under section 502(j) of the Bankruptcy Code, Rule 59 or 60 of the Federal Rules of Civil
 Procedure, or any analogous rule (whether federal or state) may be but has not then been
 filed with respect to such order shall not cause such order not to be a Final Order.

        1.37.     Final DIP Order. The Final Order (I) Authorizing the Debtors to (A)
 Obtain Postpetition Financing on a Secured, Superpriority Basis and (B) Use Cash
 Collateral, (II) Granting Adequate Protection, and (III) Granting Related Relief entered in
 the Debtors’ Chapter 11 Cases (Docket No. 136).

       1.38.    Garrison Adequate Protection Administrative Claim.                    An
 Administrative Claim allowed in respect of any Prepetition Adequate Protection
 Superpriority Claim (as such term is defined in the Final DIP Order) claim held by GLAS.

       1.39.   Garrison Secured Claim. Any prepetition, Secured Claim held by GLAS
 and any of its constituent lenders against any of the Debtors, including the Secured

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 Claims set forth in: (i) proof of claim number 14, filed in the case of Badlands Production
 Company (Case No. 17-17467-KHT); (ii) proof of claim number 38 filed in the case of
 Badlands Energy, Inc. (Case No. 17-17465-KHT); (iii) proof of claim number 5 filed in the
 case of Badlands Energy-Utah, LLC (Case No. 17-17469-KHT); and (iv) proof of claim
 number 3 filed in the case of Myton Oilfield Rentals, LLC (Case No. 17-17471-KHT).

        1.40.  General Unsecured Claim. Any Claim against the Debtors that is (i) not
 an Administrative Claim, Priority Tax Claim, Secured Claim, Intercompany Claim, or
 Priority Non-Tax Claim, or (ii) otherwise determined by the Bankruptcy Court to be a
 General Unsecured Claim.

       1.41.    GLAS. Garrison Loan Agency Services LLC, as agent for the Debtors’
 prepetition secured credit facility.

        1.42.    Governmental Unit. The meaning specified in Bankruptcy Code section
 101(27).

        1.43.    Halliburton. Multi-Chem Group, LLC, a Texas limited liability company.

       1.44.    Halliburton Adversary. Adversary proceeding number 17-1427 KHT
 pending in the Bankruptcy Court.

       1.45.   Halliburton Proof of Claim. Proof of claim number 36 filed in the
 bankruptcy case of Badlands Energy, Inc. (Case No. 17-17465-KHT).

        1.46.    Halliburton Secured Claim. Any Secured Claim asserted in the
 Halliburton Proof of Claim. The Halliburton Secured Claim shall be Disputed on the
 Effective Date, subject to approval of the Halliburton Settlement.

        1.47.   Halliburton Settlement. The settlement of the Halliburton Adversary
 and any potential objections (either formal or informal) to the Halliburton Proof of Claim,
 subject to Court approval on notice under Bankruptcy Rule 9019, allowing Halliburton a
 Secured Claim of $550,000.00, and a general unsecured claim for the balance of the
 Halliburton Proof of Claim, along with mutual releases of all Claims, Causes of Actions
 and Avoidance Actions by and among the Debtors, Trustee, GLAS, and Halliburton. .

        1.48.    Holder. The owner or holder of any Claim or Interest.

        1.49.    Intercompany Claim. A Claim of one Debtor against another Debtor.

        1.50.   Interest. With respect to the Debtors, any “equity security” as such term
 is defined in section 101(16) of the Bankruptcy Code, whether or not asserted, of any
 equity security holder of the Debtors, as defined in section 101(17) of the Bankruptcy
 Code. Interest shall also include, without limitation, all stock, partnership, membership

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 interest, warrants, options or other rights to purchase or acquire any equity interests in a
 Debtor.

        1.51.    Law. Any law, rule, regulation, order, decree or other requirement having
 the force of law and, where applicable, any interpretation thereof by an authority having
 jurisdiction with respect thereto or charged with administration thereof.

         1.52.   Lien. A judicial lien as defined in section 101(36) of the Bankruptcy Code;
 a lien as defined in section 101(37) of the Bankruptcy Code; a security interest as defined
 in section 101(51) of the Bankruptcy Code; a statutory lien as defined in section 101(53) of
 the Bankruptcy Code; and any other lien, interest, charge or encumbrance.

         1.53.   Net Proceeds. With respect to the sale of any property of the Trust Estate,
 the proceeds of such sale remaining after payment of customary closing costs, Allowed
 priority tax claims, brokerage fees, marketing costs, title company charges, recording
 fees, and the fees and expenses of the Trustee and its professionals and other agents that
 are attributable to such sale.

        1.54.    Person. The meaning set forth in section 101(41) of the Bankruptcy Code.

        1.55.    Petition Date. August 11, 2017.

        1.56.   Plan. This second amended joint chapter 11 plan of liquidation, including
 exhibits hereto, as the same may be amended or modified from time to time in accordance
 with the provisions of the Bankruptcy Code and the terms hereof.

       1.57.   Plan Supplement. A separate volume of documents that may be filed with
 the Bankruptcy Court not less than seven (7) days prior to the Confirmation Hearing.

          1.58.      Priority Non-Tax Claim. Any Claim, other than an Administrative Claim
 or a Priority Tax Claim, entitled to priority in payment as specified in section 507(a)(3),
 (4), (5), (6), (7), or (9) of the Bankruptcy Code.

        1.59.     Priority Tax Claim. Any Claim of a governmental unit of the kind entitled
 to priority in payment as specified in sections 502(i) and 507(a)(8) of the Bankruptcy Code.

        1.60.   Pro-Rata Share. At any time, the proportion that the amount of an
 Allowed Claim in a particular Class bears to the aggregate amount of all Allowed Claims
 (including Disputed Claims, but excluding Disallowed Claims) in that particular Class,
 unless the Plan provides otherwise.

       1.61.    Property. All property and interests in property of the Estates of any
 nature whatsoever, real or personal, tangible or intangible, previously or now owned by
 the Debtors or acquired by the Estates as defined in Section 541 of the Bankruptcy Code.

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        1.62.    Purchased Assets. The assets of the Debtors sold to the Purchasers
  pursuant to the Sale Transactions.

        1.63.  Purchasers. Collectively, Wapiti Utah, LLC and Crescent Point US
  Corporation.

           1.64.    Released Parties. Collectively, (i) Garrison Loan Agency Services LLC;
  (iii) each of the lender affiliates of Garrison Loan Agency Services LLC for which Garrison
  Loan Agency Services LLC serves as administrative agent, including, without limitation,
  Garrison Funding 2013-2 Ltd, GMMF Loan Holdings LLC, Garrison GMM Loan Holdco
  LLC, and Garrison Capital Inc., (iv) and with respect to each of the entities in clauses (i)
  through (iv) such entities’ agents, advisors, employees, officers, directors,
  representatives, members, financial advisors, attorneys, accountants, consultants and
  other professionals, in each case solely in their capacity as such.

         1.65.    Sale Proceeds. The proceeds of the Sale Transactions.

        1.66.   Sale Transactions. Collectively, the Crescent Point Sale Transaction and
  the Wapiti Utah Sale Transaction.

         1.67.    Schedules. The schedules of assets and liabilities and the statements of
  financial affairs filed by the Debtors under section 521 of the Bankruptcy Code,
  Bankruptcy Rule 1007, and the Official Bankruptcy Forms of the Bankruptcy Rules as
  such schedules and statements have been or may be supplemented or amended from
  time to time through the Confirmation Date.

         1.68.     Secured Claim. All Allowed Claims secured by a valid, perfected, and
  enforceable lien that is not subject to avoidance or subordination under the Code or
  applicable non-bankruptcy law, but only to the extent of the value (determined in
  accordance with section 506(a) of the Code) of the Claimant’s interest in the Debtors’
  interest in the specific property of the bankruptcy estate to which the lien attaches.

         1.69.   Secured Tax Claim Reserve. A reserve established to satisfy the estimated
  amount of Allowed Class 1A Secured Tax Claims existing on the Effective Date. The
  amount of the Secured Tax Claim Reserve shall be approximately $600,000 or as
  otherwise set forth in the Plan Supplement. Any amounts within the Secured Tax Claim
  Reserve that are not needed to satisfy Allowed, Class 1A Secured Tax Claims shall be
  transferred to the Secured Garrison Claim Reserve and shall be immediately due and
  payable to holders of Class 1B Garrison Secured Claims. No portion of funds within the
  Secured Tax Claim Reserve may ever constitute Unencumbered Trust Cash.

         1.70.    Secured Garrison Claim Reserve. A reserve, in an amount not less than
  $8,500,000 (eight million and five hundred thousand dollars), established to fund
  distributions in respect of Class 1B Garrison Secured Claims on the Effective Date or as

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  otherwise set forth in the Plan Supplement. The Secured Garrison Claim Reserve balance
  shall be supplemented with: (i) any portion of the Secured Tax Claim Reserve that is not
  needed to satisfy Allowed, Class 1A Secured Tax Claims; (ii) any portion of the Secured
  Other Claim Reserve that is not needed to satisfy Allowed, Class 1D Secured Other
  Claims; and (iii) any proceeds of Garrison’s collateral that were funded into the Wind-
  Down Reserve and are not needed to satisfy Allowed Administrative Claims, Allowed
  Priority Tax Claims, or Allowed Priority Non-Tax Claims. Any supplement to the
  Garrison Secured Claim Reserve shall be immediately payable to the holders of Class 1B
  Garrison Secured Claims. No portion of funds within the Secured Garrison Claim
  Reserve may ever constitute Unencumbered Trust Cash.

        1.71.    Secured Other Claim Reserve. A reserve established to satisfy the alleged
  amount of Allowed Class 1D Secured Other Claims. Each of the Class 1D Secured Other
  Claims shall be Disputed on the Effective Date. The amount of the Secured Other Claim
  Reserve, if any, shall be set forth in the Plan Supplement. Any amounts within the
  Secured Other Claim Reserve that are not needed to satisfy Allowed, Class 1D Secured
  Other Claims shall be transferred to the Secured Garrison Claim Reserve, and shall be
  immediately due and payable to holders of Class 1B Garrison Secured Claims. No
  portion of funds within the Secured Other Claim Reserve may ever constitute
  Unencumbered Trust Cash.

          1.72.   Tax Code. Title 26 of the United States Code, as amended from time to
  time.

        1.73.    Trust. The Badlands Liquidating Trust, established as a grantor trust
  pursuant to this Plan and the Badlands Liquidating Trust Agreement.

        1.74.   Trustee. Any individual or entity designated pursuant to the Badlands
  Liquidating Trust Agreement as the fiduciary responsible for administration of the Trust.

         1.75.   Trust Assets. All assets of the Debtors, excluding the Purchased Assets,
  which shall be transferred to the Trust and held and administered by the Trustee in trust
  for the Holders of Allowed Claims, as provided in Article 8.

          1.76.   Trust Estate. As defined in the Badlands Liquidating Trust Agreement.

          1.77.  Trust Oversight Committee. A committee, appointed pursuant to Section
  8.6 of the Plan, which will oversee the Trustee’s administration of the Trust and Trust
  Assets. The identity of the persons or entities comprising the Trust Oversight Committee,
  other than or in addition to GLAS, shall be set forth in the Plan Supplement.

         1.78.   Unencumbered Trust Cash. All Cash of the Trust that (i) is not subject to
  a lien or security interest securing a Secured Claim; (ii) does not otherwise constitute
  proceeds of Collateral; and (iii) does not constitute funds for the Secured Tax Claim

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  Reserve, Secured Garrison Claim Reserve, Secured Other Claim Reserve, or Wind-Down
  Reserve (or any portion of the Disputed Claims Reserve corresponding to such reserves).
  The Unencumbered Trust Cash shall include the Unencumbered Trust Cash GLAS
  Deposit.

        1.79.    Unencumbered Trust Cash GLAS Deposit. A $25,000 (twenty five
  thousand dollar) deposit funded from the Sale Proceeds as agreed by GLAS and as
  consideration for the releases under this Plan.

        1.80.   Unexpired Lease. A lease of nonresidential real or personal property to
  which a Debtor is a party that is subject to assumption or rejection under Section 365 of
  the Bankruptcy Code.

         1.81.   Wapiti Utah APA. That certain Asset Purchase Agreement dated August
  7, 2017 among Debtor Badlands Production Company, as the Seller, and Wapiti Utah,
  LLC, as Buyer.

         1.82.   Wapiti Utah Sale Order. The Order (A) Approving Asset Purchase
  Agreement between Debtor Badlands Production Company and Wapiti Utah, LLC, (B)
  Authorizing the Sale of Substantially all Property Pursuant Thereto Free and Clear of All
  Liens, Claims, Encumbrances, and Interests, (C) Authorizing the Assumption and
  Assignment of Contracts, and (D) Granting Related Relief pursuant to which the Crescent
  Point Sale Transaction was approved by the Bankruptcy Court.

         1.83.   Wapiti Sale Transaction. The sale of substantially all of the assets of
  Debtor Badlands Production Company to Wapiti Utah, LLC pursuant to the Wapiti Utah
  APA and the Wapiti Utah Sale Order, and including the sale of the field office assets of
  Myton Oilfield Rentals, LLC to Wapiti Utah, LLC pursuant to the separate Court’s
  November 20, 2017, Order (A) Approving Real Estate Sale Contract Between Myton
  Oilfield Rentals, LLC and Wapiti Utah, LLC, (B) Authorizing Sale of Substantially All
  Property Pursuant Thereto, Free and Clear of Liens, Claims, Encumbrances, and Interests,
  (C) Granting Related Relief.

         1.84.  Wind-Down Reserve. A reserve established to satisfy: (i) estimated
  Allowed Administrative Claims existing as of the Effective Date (other than Allowed
  Garrison Adequate Protection Administrative Claims) and fees of the United States
  Trustee under 28 U.S.C. § 1930 payable as of and following the Effective Date; (ii)
  estimated Priority Tax Claims existing on the Effective Date; and (iii) estimated
  Priority Non-Tax Claims existing on the Effective Date. The amount of the Wind-
  Down Reserve shall be approximately $600,000, or as otherwise set forth in the Plan
  Supplement. Any amounts within the Wind-Down Reserve that are not needed to
  satisfy Allowed Administrative Claims, Allowed Priority Tax Claims, or Allowed
  Priority Non-Tax Claims shall be transferred to the Secured Garrison Claim Reserve
  and shall be immediately due and payable to holders of Class 1B Garrison Secured
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  Claims. No portion of funds within the Wind-Down Reserve may ever constitute
  Unencumbered Trust Cash.

          1.85.    Interpretation, Application of Definitions and Rules of Construction.
  Except as otherwise provided in the Plan, the rules of construction set forth in Section 102
  of the Bankruptcy Code shall apply to the Plan. Wherever the context requires, each term
  stated in either the singular or the plural shall include both the singular and plural, and
  pronouns stated in the masculine, feminine or neuter gender shall include the masculine,
  feminine and neuter. Terms used but not defined in the Plan shall have the meanings
  ascribed to such terms by the Bankruptcy Code or the Bankruptcy Rules, as the case may
  be. The words “herein,” “hereof,” and “hereunder” and other words of similar import
  refer to the Plan as a whole and not to any particular Article, Section, or subsection in the
  Plan unless expressly provided otherwise. The words “includes” and “including” are not
  limiting and mean that the things specifically identified are set forth for purposes of
  illustration, clarity or specificity and do not in any respect qualify, characterize, limit, or
  expand the generality of the class within which such things are included. Any references
  to an entity as a Holder of a Claim or Interest includes that entity’s successors and assigns.
  Captions and headings to articles, Sections and exhibits are inserted for convenience of
  reference only, are not a part of the Plan, and shall not be used to interpret the Plan.


                        TREATMENT OF UNCLASSIFIED CLAIMS

         2.1.     Administrative Claims. Subject to the deadline described in Section 2.2
  and other provisions herein and except to the extent the Debtor and the holder of an
  Allowed Administrative Claim (including, without limitation, any Holder of an Allowed
  Garrison Adequate Protection Administrative Claim) agree to different and less favorable
  treatment, the Debtor shall pay, in full satisfaction and release of such Claim, to each
  holder of an Allowed Administrative Claim, Cash from the Wind-Down Reserve and/or
  Unencumbered Trust Cash, in an amount equal to such Allowed Administrative Claim,
  on the later of (i) the Effective Date or (ii) the first Business Day after the date that is 30
  calendar days after the date on which such Administrative Claim becomes an Allowed
  Administrative Claim, or as soon thereafter as is practicable. Allowed Administrative
  Claims shall be paid solely from the Wind-Down Reserve and other Unencumbered Trust
  Cash.

        2.2.     Administrative Claim Bar Date. Any Entity seeking allowance of an
  Administrative Claim shall prepare a final application for all fees and expenses incurred
  through the Effective Date, and shall file and serve such application no later than: (i) for
  any Administrative Claim, other than a Garrison Adequate Protection Administrative
  Claim, the date that is thirty (30) days after the Effective Date; and (ii) for any Garrison
  Adequate Protection Administrative Claim, the date that is one hundred and twenty (120)
  days after the Effective Date. FAILURE TO TIMELY FILE SUCH APPLICATION
  SHALL RESULT IN THE ADMINISTRATIVE CLAIM BEING FOREVER BARRED
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  AND DISCHARGED. Objections to any application filed pursuant to this subsection
  must be filed and served no later than twenty-one (21) days after service of such
  application. As soon as practicable after the Bankruptcy Court enters an order allowing
  an Administrative Claim pursuant to application made under this subsection, the Trustee
  shall pay the Claimant the unpaid Allowed amount of such claim in accordance with
  Section 2.1. Any such Administrative Claim bar date may be extended by further order
  of the Bankruptcy Court for cause shown.

         2.3.      U. S. Trustee Fees. Administrative Claims for U.S. Trustee Fees owing by
  any Debtor to the extent Allowed shall be paid in accordance with 28 U.S.C. § 1930.
  Administrative Claims for U.S. Trustee fees due and owing under 28 U.S.C. § 1930 shall
  be paid solely from the Wind-Down Reserve and other Unencumbered Trust Cash. All
  fees payable pursuant to 28 U.S.C. § 1930 shall be paid on the Effective Date, and all fees
  payable pursuant 28 U.S.C. § 1930 after the Effective Date shall be paid on a quarterly
  basis until the chapter 11 cases (as substantively consolidated under this Plan) are closed,
  converted, or dismissed. The reorganized Debtors and the Trust shall be jointly and
  severally liable for the payment of all quarterly fees and the Trustee shall file with the
  Court and provide the United States Trustee with post-confirmation quarterly reports
  that shall include all of the Trust’s disbursements for that quarter.

         2.4.     Priority Tax Claims. Each holder of a Priority Tax Claim Allowed
  pursuant to § 507(a)(8) of the Code will be paid from the Wind-Down Reserve and other
  Unencumbered Trust Cash: (a) in Cash on the Effective Date; or (b) in regular installment
  payments over time, commencing on the first Business Day of the month following the
  Effective Date, and annually thereafter, in an aggregate principal amount equal to the
  amount of its Allowed Claim, plus interest on the unpaid portion thereof at the rate of
  five percent (5%) per annum from the Effective Date through the date of payment thereof;
  or (b) receive such other treatment as to which the Debtors (or the Trustee, after the
  Effective Date) and the Claimant have agreed in writing. All Allowed Priority Tax Claims
  shall be paid no later than five (5) years from the date of the first payment pursuant to
  this section, but the Trustee shall have the right to pay any Allowed Priority Tax Claim,
  or any unpaid portion thereof, in full at any time after the Effective Date without
  premium or penalty.


     CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

         3.1.     Summary and Classification of Claims and Interests.

         Pursuant to section 1122 of the Bankruptcy Code, set forth below is a designation
  of Classes of Claims against and Interests in the Debtor. In accordance with section
  1123(a)(1) of the Bankruptcy Code, Administrative Claims and Priority Tax Claims, as
  described above, have not been classified and are not entitled to vote on the Plan. A
  Claim or Interest is placed in a particular Class only to the extent that the Claim or Interest
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  falls within the description of that Class and is classified in other Classes to the extent
  that any portion of the Claim or Interest falls within the description of such other Classes.
  A Claim or Interest is also placed in a particular Class for the purpose of receiving
  Distributions pursuant to the Plan only to the extent that such Claim or Interest is an
  Allowed Claim in that Class and such Claim or Interest has not been paid, released, or
  otherwise settled prior to the Effective Date.

          The following table designates the Classes of Claims against and Interests in the
  Debtor and specifies which of those Classes are (i) impaired or unimpaired by the Plan,
  (ii) entitled to vote to accept or reject the Plan in accordance with section 1126 of the
  Bankruptcy Code, and (iii) deemed to reject the Plan:


       Class                Designation             Impairment          Entitled to Vote
     Class 1A            Secured Tax Claims         Unimpaired                 No

     Class 1B       Secured Claims–Garrison          Impaired                  Yes

     Class 1C     Secured Claims–Halliburton         Impaired                  Yes

     Class 1D           Secured Claims-Other        Unimpaired                 No

      Class 2       Priority Non-Tax Claims         Unimpaired                 No

      Class 3      General Unsecured Claims          Impaired                  Yes

      Class 4           Intercompany Claims          Impaired        No (deemed to reject)

      Class 5                 Interests              Impaired        No (deemed to reject)


         3.2.     Classification and Treatment of Classified Claims.

                 (a)    Class 1A - Secured Tax Claims . Provided that the holder of a Class
         1A Secured Claim has not yet been paid, on the later of (A) the Effective Date and
         (B) for Claims in Class 1A that were Disputed Claims on the Effective Date and
         have thereafter become Allowed Secured Claims, immediately following the date
         upon which such Claims became Allowed Secured Claims, or as soon thereafter
         as is practicable, holders of each such Allowed Secured Claim shall receive, at the
         sole discretion of the Trustee, (1) Cash from the Secured Tax Claim Reserve in an
         amount not to exceed the amount of such Allowed Secured Claim, (2) the
         Collateral securing such Allowed Secured Claim (in which case any deficiency
         claim shall become a Class 3 General Unsecured Claim), or (3) such other treatment
         as may be agreed upon by the Debtors or the Trustee and the holder of such
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         Allowed Secured Claim, provided that the holder of such Allowed Secured Claim
         will not receive more than the value of the Collateral securing such Claim. Secured
         Tax Claims shall, until satisfied pursuant to the Plan, retain their pre-Effective
         Date liens upon the applicable Collateral, notwithstanding the transfer of Trust
         Assets to the Trust on the Effective Date.

                (b)    Class 1B - Secured Claims-Garrison. On the Effective Date, the
         Garrison Secured Claim shall be an Allowed Secured Claim in the amount of no
         less than $33,428,641.96, or such other amount as may be provided in the Plan
         Supplement with the consent of GLAS. Notwithstanding its allowance in this
         amount, the Garrison Secured Claim shall be treated as set forth herein, with a
         portion of Collateral that would otherwise secure the Class 1B Garrison Secured
         Claim being used to fund the Wind-Down Reserve and the Unencumbered Trust
         Cash GLAS Deposit. Provided that the holder of a Class 1B Garrison Secured
         Claim has not yet been paid from the Sale Proceeds, on the Effective Date, holders
         of each such Allowed Garrison Secured Claim shall receive (1) the Collateral
         securing such Allowed Garrison Secured Claim (but excluding any amounts in the
         Secured Tax Claim Reserve, Secured Other Claim Reserve, the Unencumbered
         Trust Cash GLAS Deposit, and Wind-Down Reserve), including all of the Cash in
         the Secured Garrison Claim Reserve, in any event not to exceed the amount of such
         Allowed Secured Claim (with any Deficiency Claim of GLAS and its constitutent
         lenders becoming a Class 3 General Unsecured Claim), or (2) such other treatment
         as may be agreed upon by the Debtors or the Trustee and the holder of such
         Allowed Garrison Secured Claim, provided that the holder of such Allowed
         Secured Claim will not receive more than the value of the Collateral securing such
         Claim. Class 1B Garrison Secured Claims shall, until satisfied pursuant to the Plan,
         retain their pre-Effective Date liens upon the applicable Collateral,
         notwithstanding the transfer of Trust Assets to the Trust on the Effective Date.

                (c)     Class 1C - Secured Claims-Halliburton. The Halliburton Secured
         Claim shall be Disputed on the Effective Date, subject to approval of the
         Halliburton Settlement. Upon approval of the Halliburton Settlement, the
         Halliburton Secured Claim shall be $550,000, and Halliburton shall have an
         Allowed General Unsecured Claim for the balance of the Halliburton Proof of
         Claim. Unless otherwise agreed to by the parties to the Halliburton Adversary as
         part of a settlement approved by the Court, no Holder of a Halliburton Secured
         Claim shall be entitled to any distribution in respect of such alleged Secured Claim
         on the Effective Date unless and until a Final Order is entered either: (i) approving
         the Halliburton Settlement, or (ii) determining that any Secured Claims asserted
         in the Halliburton Proof of Claim are Allowed and are secured by liens that are
         senior to the liens securing the Garrison Secured Claims. Within three (3) business
         days after the date of a Final Order either: (a) approving the Halliburton
         Settlement; or (b) determining that claims alleged in the Halliburton Proof of

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         Claim are Allowed Claims secured by liens that are senior to the liens securing the
         Garrison Secured Claims, the Debtors or the Trustee shall pay Halliburton an
         amount equal to the amount of Halliburton Secured Claim. If all or any portion of
         Halliburton’s liens are determined to be junior to any liens securing the Garrison
         Secured Claims, Halliburton shall have an unsecured claim not to exceed the
         amount stated in the Halliburton Proof of Claim, subject to any objections asserted
         by the Debtors or the Trustee, and which unsecured claim shall be Allowed by
         agreement of the parties, or by Final Order of the Bankruptcy Court.

                (d)    Class 1D - Secured Other Claims. Each of the Secured Other Claims
         shall be Disputed on the Effective Date. In the event that a Secured Other Claim
         becomes an Allowed Secured Claim, immediately following the date upon which
         such Claim becomes an Allowed Secured Claim, or as soon thereafter as is
         practicable, such holder of an Allowed Secured Claim shall receive, at the sole
         discretion of the Trustee, (1) Cash from the Secured Other Claim Reserve in an
         amount not to exceed the amount of such Allowed Secured Claim, (2) the
         Collateral securing such Allowed Secured Claim (in which case any deficiency
         claim shall become a Class 3 General Unsecured Claim), or (3) such other treatment
         as may be agreed upon by the Debtors or the Trustee and the holder of such
         Allowed Secured Claim, provided that the holder of such Allowed Secured Claim
         will not receive more than the value of the Collateral securing such Claim.
         Allowed Secured Other Claims shall, until satisfied pursuant to the Plan, retain
         their pre-Effective Date liens upon the applicable Collateral, notwithstanding the
         transfer of Trust Assets to the Trust on the Effective Date.

                (e)    Class 2 - Priority Non-Tax Claims. Each holder of an Allowed Class
         2 Priority Non-Tax Claim shall receive Cash in an amount equal to one hundred
         percent (100%) of the unpaid amount of such Allowed Priority Non-Tax Claim on
         the Effective Date or as soon thereafter as is practicable, payable solely from the
         Wind-Down Reserve and other Unencumbered Trust Cash.

               (f)     Class 3 - General Unsecured Claims. Following the expiration of
         the Claim Objection Deadline, as soon as the sum of all Allowed General
         Unsecured Claims has been determined, holders of Allowed General Unsecured
         Claims shall receive their Pro-Rata Share of Unencumbered Trust Cash from time
         to time, at the discretion of the Trustee, after satisfaction of all Allowed
         Administrative Claims, Allowed Priority Tax Claims, and Allowed Priority Non-
         Tax Claims. Notwithstanding any other provision of the Plan, holders of Allowed
         General Unsecured Claims shall not be entitled to receive any payment of Cash on
         account of Allowed General Unsecured Claims until the holders of Allowed
         Administrative Claims, Allowed Priority Tax Claims, and Allowed Priority Non-
         Tax Claims have received payment on account of such Allowed Claims or such
         Allowed Claims have been fully reserved for in accordance with the Plan, and any

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         Disputed General Unsecured Claims have been reserved for in accordance with
         the Plan. No distributions or payments shall be made in respect of General
         Unsecured Claims until after the expiration of the Claim Objection Deadline.

               (g)     Class 5 - Intercompany Claims. Intercompany Claims, if any, are
         eliminated and Holders of Intercompany Claims will not receive a distribution of
         property or interest in property under the Plan.

                (h)    Class 6 - Interests. All equity interests in the Debtors will be
         cancelled on the Effective Date.


                        COMPROMISES AND SETTLEMENTS

         4.1.     Settlements Generally. Pursuant to Section 1123(b)(3)(A) of the
  Bankruptcy Code and Rule 9019 of the Bankruptcy Rules, and in consideration for the
  distributions and other benefits provided under the Plan, the provisions of the Plan will
  constitute a good faith compromise and settlement of all claims or controversies relating
  to the rights that a Holder of a Claim against or Interest in any of the Debtors may have
  with respect to any Allowed Claim or Interest as to any distribution to be made pursuant
  to the Plan on account of any Allowed Claim or Allowed Interest.

          The Confirmation Order, subject to the occurrence of the Effective Date, shall
  constitute an order of the Bankruptcy Court finding and determining that the settlements
  provided for in the Plan are (a) in the best interests of creditors and the Estates, (b) fair,
  equitable, and reasonable, (c) made in good faith, and (d) approved by the Bankruptcy
  Court. All Final Orders entered by the Bankruptcy Court approving any compromises,
  stipulations, or settlements in the Debtors’ Chapter 11 Cases prior to the Effective Date
  shall remain in effect and shall be binding according to their terms.

         4.2.    Settlement of Litigation and Sale Transactions. To the extent not
  otherwise finally settled on or before the Effective Date, the Debtors and the Trustee shall
  retain all of the estate’s rights, titles, and interests, related to any settlement or
  compromise of pending litigation and disputes related to the Sale Transactions, and may,
  subject to compliance with the other requirements of the Plan, enter into such additional
  agreements to compromise any Disputed Claims relating to the Sale Transactions.


                    TREATMENT OF EXECUTORY CONTRACTS
                          AND UNEXPIRED LEASES

        5.1.     Assumed Contracts. Under the Plan, and except as provided in any Final
  Orders entered by the Court before the Effective Date related to the Crescent Point Sale
  Transaction, the Wapiti Sale Transaction, and the Debtors’ lease and sub-lease for

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  property located at 7979 East Tufts Avenue, Suite 1150, Denver, Colorado 80237, no
  Executory Contracts and Unexpired Leases will be assumed and assigned on the Effective
  Date. No executory Contracts or Unexpired Leases will be assumed and assigned to the
  Trust under the Plan.

         5.2.     Rejected Contracts. The Debtors will be conclusively deemed to have
  rejected all remaining executory contracts and/or unexpired leases on the Effective Date
  except as provided in this Plan and Final Orders of the Court.

          5.3.    Bar Date for Rejection Damage Claims. Any and all proofs of claim with
  respect to Claims arising from the rejection of Executory Contracts or Unexpired Leases
  shall, unless another order of the Bankruptcy Court provides for an earlier date, be filed
  within thirty (30) days after the Effective Date. Any proof of Claim arising from the
  rejection of an Executory Contract or Unexpired Lease that is not timely filed shall be
  disallowed automatically and forever barred, estopped and enjoined from assertion and
  shall not be enforceable against the Debtors, the Estates or the Trust or their respective
  Property or Trust Assets, without the need for any objection or any further notice to or
  action, order or approval of the Bankruptcy Court, and any Claim arising out the rejection
  of the Unexpired Lease or Executory Contract or shall be deemed fully satisfied and
  released notwithstanding anything in the Schedules or a proof of claim to the contrary.
  All Allowed Claims arising from the rejection of an Unexpired Lease or Executory
  Contract shall be treated as Class 3 General Unsecured Claims for purposes of a
  distribution pursuant to the Plan.


    PROVISIONS GOVERNING ALLOWANCE AND DISALLOWANCE OF
                  CLAIMS AND DISTRIBUTIONS

         6.1.    Disallowance of Claims. Except as otherwise agreed by the Trustee, any
  and all proofs of Claim filed after the Bar Date shall be deemed disallowed as of the
  Effective Date without any further notice to, or action, order or approval of the
  Bankruptcy Court, and Holders of such Claims may not receive any distributions on
  account of such Claims, unless such late proof of Claim is deemed timely filed by a Final
  Order of the Bankruptcy Court. Nothing herein shall in any way alter, impair or abridge
  the legal effect of the Bar Date or the rights of the Debtor or the Trustee to object to Claims
  (except to the extent such claims are Allowed Claims pursuant to a Final Order of the
  Court) on the grounds that they are time barred or otherwise subject to disallowance,
  subordination or modification.

          6.2.    Claim Objections. Objections to Claims shall be filed with the Bankruptcy
  Court and served upon the Holders of each of the Claims to which objections are made
  pursuant to the Code, the Bankruptcy Rules, or any applicable non-bankruptcy law no
  later than the Claim Objection Deadline. The Debtors, the Trustee, and any other party-
  in-interest shall have full right, power and authority to investigate and, if necessary,
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  object to claims prior to the Claim Objection Deadline. The Claim Objection Deadline
  may be extended by further order of the Court.

         6.3.     Litigation and Settlement of Claims. Subject to the terms of the Plan,
  objections to Claims may be litigated to judgment, settled, or withdrawn. Only the
  Trustee shall have the authority to settle claims. With respect to any settlement of a
  General Unsecured Claim involving an amount of $20,000 or less, no notice to creditors,
  or approval by the Bankruptcy Court, of the settlement will be required. With respect to
  any General Unsecured claim involving an amount greater than $20,000, or any objection
  to any Administrative Claims, Priority Tax Claims, Priority Non-Tax Claims, Secured Tax
  Claims, or Secured Other Claims, settlement by the Trustee of any objection to any claim
  shall be permitted on the fourteenth (14th) day after notice of the settlement has been
  provided by the Trustee to the objector, the holder of the claim, and the Trust Oversight
  Committee. If on or before the objection deadline no written objection to the proposed
  settlement is submitted to the Trustee, such settlement shall be conclusively approved. If
  a written objection to the proposed settlement is submitted before the objection deadline,
  the Trustee and the objector shall confer to reach a consensual resolution of the dispute.
  If no resolution is reached within fourteen (14) days after the Trustee’s receipt of the
  objection, the Trustee shall file an application with the Bankruptcy Court to approve the
  settlement and the settlement shall be subject to approval by the Bankruptcy Court (in
  accordance with the standards developed under Bankruptcy Rule 9019) and upon notice
  to the objecting party.

          6.4.     Manner of Distributions. Distributions in respect of General Unsecured
  Claims shall be made solely from the Trust Estate whenever reasonably ascertainable in
  the sole opinion of the Trustee, and solely to the extent of Unencumbered Trust Cash.
  Distributions in respect of other Claims shall be made at the time and in the manner called
  for under the Plan. Distributions to a Holder of an Allowed Claim will be tendered in
  United States dollars and will be made by checks drawn on a United States domestic bank
  or by wire transfer from a United States domestic bank. Any Holder of an Allowed Claim
  that wishes to receive a cash payment by wire transfer shall provide wire instructions to
  the Trustee. In any such case, the Trustee shall make the Cash payment(s) by wire transfer
  in accordance with the wire instructions, provided, that, the costs of such wire transfer
  shall be deducted from such entity’s distribution. Distributions shall be made: (i) at the
  addresses set forth in the proofs of claims filed by claimants (or the last known addresses
  of such claimants if no proof of claim is filed or if the Trustee has been notified of a change
  of address); (ii) at the addresses set forth in written notices of address change delivered
  to the Trustee after the date of any related proof of claim; or (iii) at the addresses reflected
  in the Schedules if no proof of claim has been filed and the Trustee has not received a
  written notice of change of address.

         6.5.   No Distribution Pending Allowance. Notwithstanding any other
  provision hereof, if any portion of a Claim is a Disputed Claim, no payment or

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  distribution provided hereunder shall be made on account of such Claim unless and until
  such Disputed Claim becomes an Allowed Claim.

          6.6.    Estimation of Claims. For purposes of making distributions provided for
  under the Plan, all Disputed Claims may be estimated by the Trustee at an amount equal
  to (i) such lesser amount that is agreed to by the holder of such claim, (ii) the amount
  claimed if the Court has not made an estimation of such claim or the holder of such claim
  has not agreed to a lesser amount, or (iii) the amount, if any, determined by the Court
  pursuant to § 502(c) of the Code as an estimate for distribution purposes. In any event,
  the estimated amount shall be the maximum amount of the claim for distribution
  purposes under this Plan and any order of the Bankruptcy Court estimating the claim
  shall also set the maximum amount of the claim if it becomes an Allowed Claim. The
  Trustee shall create a Disputed Claims Reserve sufficient to pay estimated claims when
  and if they become Allowed Claims. Notwithstanding anything herein to the contrary,
  no distributions shall be made on account of any claim so estimated until such claim is
  an Allowed Claim.

         6.7.     Unclaimed Distributions.

                 (a)   Undeliverable Distributions. In the event that any distribution to
         any Holder of an Allowed Claim is returned as undeliverable, no further
         distributions shall be made to such Holder unless and until the Trustee is notified
         of such Holder's then-current address. If any Holder of an Allowed Claim does
         not assert a claim pursuant to this Plan for an undeliverable or unclaimed
         distribution for a period of ninety (90) days after it has been delivered (or
         attempted to be delivered) in accordance with the Plan to the Holder of an
         Allowed Claim entitled thereto, such unclaimed property shall be deemed to be
         forfeited by such Holder, whereupon all right, title and interest in and to the
         unclaimed property shall be held by the Trustee and any Holder thereof shall be
         forever barred, estopped and enjoined from asserting any such Claim against the
         Debtor, the Trust Estate, and the Trustee. In such cases, (i) with respect to any
         distribution made from Unencumbered Trust Cash, the Unencumbered Trust
         Cash that was to be distributed will become Property of the Trust Estate free and
         clear of any restrictions thereon and notwithstanding any federal or state
         escheatment laws to the contrary and shall be distributed in accordance with the
         terms of the Plan; and (ii) with respect to any distribution made from any other
         source, such proceeds shall instead be paid to satisfy the Garrison Secured Claim.
         Nothing contained in the Plan or otherwise shall require any of the Debtors or the
         Trustee to attempt to locate any Holder of an Allowed Claim.

                 (b)   Time Bar to Cash Payments. In the event that any distribution to any
         Holder of an Allowed Claim made by check is not cashed within sixty (60) days
         after issuance thereof, a stop payment order shall be given with respect to such
         check rendering the check null and void. Requests for reissuance of any check
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         subject to a stop payment order shall be made in writing to the Trustee by the
         Holder of such Allowed Claim to whom such check originally was issued. Any
         claim in respect of such voided check shall be made on or before thirty (30) days
         after the sixty (60) day period following the date of issuance of such check. If any
         Holder of an Allowed Claim does not assert a claim pursuant to this Plan for
         reissuance of a voided check within such period, the amount represented by such
         voided check shall be deemed to be forfeited by such Holder, and any Holder
         thereof shall be forever barred, estopped and enjoined from asserting any such
         Claim against the Debtor, the Trust Estate, and the Trustee. In such cases; (i) with
         respect to any distribution made from Unencumbered Trust Cash, the
         Unencumbered Trust Cash that was to be distributed will become Property of the
         Trust Estate free and clear of any restrictions thereon and notwithstanding any
         federal or state escheatment laws to the contrary and shall be distributed in
         accordance with the terms of the Plan; and (ii) with respect to any distribution
         made from any other source, such proceeds shall instead be paid to satisfy the
         Garrison Secured Claim; notwithstanding any federal or state escheatment laws
         to the contrary.

         6.8.     Withholding Taxes. The Trustee shall not be required to withhold taxes
  or comply with any applicable reporting requirements. The recipients of Distributions
  will be required to comply with all applicable laws and regulations concerning the
  reporting and taxing of the Distributions. If requested by the recipient of a Distribution,
  the Trustee will issue an IRS Form 1099. Notwithstanding any other provision of the Plan,
  each Entity receiving a distribution pursuant to the Plan shall have sole and exclusive
  responsibility for the satisfaction and payment of any tax obligations imposed on it by
  any governmental unit on account of such distribution, including income, withholding
  and other tax obligations.

         6.9.     Fractional Cents. Any other provision of the Plan to the contrary
  notwithstanding, no payment of fractions of cents will be made. Whenever any payment
  of a fraction of a cent would otherwise be called for, the actual payment shall reflect a
  rounding down of such fraction to the nearest whole cent.

         6.10.    De Minimis Distributions. The Trustee shall not be required to make any
  payment of less than twenty-five dollars ($25.00) with respect to any Allowed General
  Unsecured Claim. To the extent that any interim distribution is not paid on an Allowed
  General Unsecured Claim on the grounds that it amounts to less than twenty-five dollars
  ($25.00), the amount of such withheld distribution shall be reserved for addition to any
  future distribution and may be made at that time if the total distribution is at least twenty-
  five dollars ($25.00), or as the final distribution on such Allowed General Unsecured
  Claim.

         6.11.    Setoffs. Nothing in this Plan shall expand or enhance a Creditor's rights
  of setoff and recoupment, which shall be determined as of the applicable Petition Date.
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  Nothing in this Plan is intended to, or shall be interpreted to, approve any Creditor's
  effectuation of a post-petition setoff or recoupment without the consent of the Debtor or
  the Trustee unless prior Bankruptcy Court approval has been obtained. Except as
  otherwise provided for herein, with respect to Causes of Action or Avoidance Actions
  released by or on behalf of the Estates pursuant to the Plan and the Confirmation Order,
  the Trustee may, but shall not be required to, exercise its right setoff and recoupment,
  pursuant to sections 553 and 558 of the Bankruptcy Code or applicable nonbankruptcy
  law, against any Claim and the payments to be made pursuant to the Plan in respect of
  such Claim, Causes of Action, or Avoidance Action of any nature whatsoever that the
  Trust Estate may have against the Holder of such Claim, but neither the failure to do so
  nor the allowance of a Claim shall constitute a waiver or release by the Debtor, the Trustee
  or the Trust Estate of any Claim it may have against the Creditor.


                           EFFECTIVENESS OF THE PLAN

         7.1.    Condition Precedent to Confirmation of Plan. The following are
  conditions precedent to the confirmation of the Plan:

               (a)   The Bankruptcy Court shall have entered a Confirmation Order in
         form and substance satisfactory to the Debtors.

                (b)     All exhibits to the Plan are in the form and substance reasonably
         satisfactory to the Debtors.

        7.2.     Conditions Precedent to Effective Date. The following are conditions
  precedent to the Effective Date of the Plan:

                 (a)    The Confirmation Order shall have become a Final Order;

                (b)     The Confirmation Order, in form and substance reasonably
         satisfactory to the Debtors has been entered and is not stayed;

               (c)    All actions and all agreements, instruments or other documents
         necessary to implement the terms and provisions of the Plan are effected or
         executed and delivered, as applicable, inform and substance satisfactory to the
         Debtors;

                (d)   All authorizations, consents and regulatory approvals, if any,
         required by the Debtors in connection with the consummation of the Plan are
         obtained and not revoked;

                 (e)    the Trustee shall have accepted appointment as Trustee for the Trust;
         and

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                 (f)    Any modifications to the Plan are in a form acceptable to the Debtors.

         7.3.     Waiver of Conditions. The Debtors, in writing, may at any time, without
  notice or authorization of the Bankruptcy Court, waive one or more of the conditions set
  forth in Sections 7.1 and 7.2 of the Plan.

         7.4.    Satisfaction of Conditions. Any actions required to be taken on the
  Effective Date shall take place and shall be deemed to have occurred simultaneously. If
  the Debtors decide that one of the conditions precedent set forth in Section 7.2 hereof
  cannot be satisfied and the occurrence of such condition is not waived or cannot be
  waived, then the Debtors shall file a notice of the failure of the Effective Date with the
  Bankruptcy Court.

          7.5.    Notice of Effective Date. On the Effective Date, or as soon thereafter as is
  reasonably practicable, the Debtors shall file with the Bankruptcy Court a “Notice of
  Effective Date”, which notice shall constitute appropriate and adequate notice that the
  Plan has become effective. Failure to timely file the notice shall not in any way affect the
  effectiveness of the Plan.

        7.6.     Request for Waiver of Stay of Confirmation Order. The Plan shall serve
  as a motion seeking a waiver of the stay of the Confirmation Order imposed by
  Bankruptcy Rule 3020(e). Any objection to this request for waiver shall be filed with the
  Bankruptcy Court and served in accordance with the Bankruptcy Rules or as otherwise
  ordered by the Bankruptcy Court. In the event any such objections are timely filed, a
  hearing with respect thereto shall occur at the Confirmation Hearing.

         7.7.     Sale Transactions. Notwithstanding anything herein to the contrary,
  nothing in the Plan shall be deemed to modify or otherwise affect the terms and
  conditions of the Sale Transactions. In the event of a conflict between the Plan, on the one
  hand, and the Sale Transactions, on the other hand, the terms of the Sale Transactions
  shall control.


      MEANS FOR IMPLEMENTATION AND EXECUTION OF THE PLAN

           8.1.    Substantive Consolidation. On and subject to the occurrence of the
  Effective Date, this Plan shall substantively consolidate the Debtors’ Estates. Resultantly,
  solely for purposes of administering the Consolidated Estates and making distributions
  under this Plan and the Badlands Liquidating Trust Agreement, (a) all assets and
  liabilities of the Debtors shall be pooled, and (b) any and all Intercompany Claims shall
  be disregarded. Accordingly, duplicative Claims Filed against the Debtors, including
  guaranty claims, claims sounding in tort that purport to recover the same, or substantially
  the same, damages as other Claims, and Claims that purport to establish joint and several
  liability, shall be expunged and disallowed upon the Effective Date, and the Holder of

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  any Claims shall receive a single recovery on account of any such joint or duplicative
  obligations. The treatment of the Estates as if they were substantively consolidated solely
  for the purpose of administering the Consolidated Estates and making distributions
  under this Plan shall not, and shall not be deemed to, affect or constitute a waiver of the
  mutuality requirement for setoff under Section 553 of the Bankruptcy Code, except to the
  extent otherwise expressly waived by the Trustee in writing. Except to the extent
  expressly released in the Plan, all Claims, Causes of Action, Avoidance Actions or rights
  of the Chapter 11 Trustee under applicable law to avoid transfers of the property of any
  of the Debtors are and shall be preserved under the Plan.

         8.2.    Order Granting Substantive Consolidation. This Plan shall serve as, and
  shall be deemed to be, a motion for entry of an order substantively consolidating the
  Debtors as described in Section 8.1 above. Any objection to this request for substantive
  consolidation shall be Filed with the Bankruptcy Court and served in accordance with
  the Bankruptcy Rules or as otherwise ordered by the Bankruptcy Court. In the event any
  such objections are timely Filed, a hearing with respect thereto shall occur at the
  Confirmation Hearing. Entry of the Confirmation Order shall constitute approval by the
  Bankruptcy Court, effective as of the Effective Date, of the substantive consolidation of
  the Debtors for Plan purposes. The Confirmation Order shall constitute approval of the
  Bankruptcy Court of the substantive consolidation of the Debtors, and the relief accorded
  under Section 8.1 shall be effective as of the Effective Date.

         8.3.      Vesting of Assets in Trust and Abandonment on the Effective Date. As
  of the Effective Date, pursuant to the provisions of sections 1141(b) and (c) of the
  Bankruptcy Code, the Debtors shall transfer and assign all of their right, title, and interest
  in and to all of the Trust Assets, which shall automatically vest in the Trust free and clear
  of all Claims, Liens, encumbrances, charges, Equity Interests, and other interests,
  including any successor liability claims, and except for such Liens, charges and
  encumbrances set forth in the Plan.

         8.4.     Establishment of the Trust. The Trust shall be established in accordance
  with the Plan and the Badlands Liquidating Trust Agreement. For all U.S. Federal income
  tax purposes, all parties shall treat the Debtors’ transfer of the Trust Assets to the Trust
  as a transfer of such assets by the Debtors to the holders of Allowed Claims under the
  Plan, and followed by a transfer by such holders to the Trust. On and after the Effective
  Date, the Trust may operate and may use, acquire, and dispose of assets without
  supervision or approval by the Bankruptcy Court, provided, however, that (i) the Trust
  shall be entitled to have disputes resolved by the Bankruptcy Court in matters for which
  the Bankruptcy Court has retained jurisdiction; and (ii) the Trustee shall consult with the
  Trust Oversight Committee in advance of disposing any assets with a value of $10,000 or
  more. Without any further action of any Entity, the Badlands Liquidating Trust
  Agreement shall become effective on the Effective Date. The terms of this Plan and the
  Badlands Liquidating Trust Agreement shall govern the operations of the Trust.

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        8.5.     The Trustee. The identity of the Trustee as disclosed in the Plan, or in any
  Plan Supplement. The Trustee shall be retained as the sole Trustee of the Trust for
  purposes of executing this Plan until all Trust Assets have been administered and
  Unencumbered Trust Cash has been distributed as provided herein and in the Badlands
  Liquidating Trust Agreement. The Trustee shall be deemed to have been appointed as
  the Debtors’ representative by the Bankruptcy Court pursuant to section 1123(b)(3)(B) of
  the Bankruptcy Code.

          8.6.    The Trust Oversight Committee. On the Effective Date, the Trust
  Oversight Committee shall be appointed. The Trust Oversight Committee shall consist
  of GLAS, as the largest single unsecured creditor, and any other creditor as ordered by
  the Court, and shall oversee the Trustee’s administration of the Trust, liquidation of Trust
  assets, and reconciliation of Allowed Claims. The Trust Oversight Committee shall: (i)
  have the right to access all reports, documents, memoranda, and other records of the
  Trustee; (ii) shall have the right to monitor the actions of the Trustee and receive status
  reports from the Trustee; and (iii) shall have the right of reimbursement of any
  reasonable, documented, out-of-pocket expenses incurred in connection with serving on
  the Trust Oversight Committee. The Beneficiaries (as defined in the Badlands Liquidating
  Trust Agreement) may monitor the activities of the Liquidating Trust and raise any
  concerns, first with the Trust Oversight Committee and the Trustee, and to the extent
  necessary thereafter, with the Court under applicable law.

         8.7.     Liquidation of Non-Cash Assets. With respect to non-cash assets of the
  Trust Estate, the Trustee shall have the duty to liquidate and convert to cash all non-cash
  portions of the Trust Estate, and distribute the proceeds thereof in accordance with the
  provisions of this Plan. The Trustee, in consultation with the Trust Oversight Committee,
  shall exercise reasonable business judgment in liquidating all non-cash assets and shall
  attempt to liquidate the assets in an orderly manner and with a view towards maximizing
  the net proceeds thereof. The Trustee, in consultation with the Trust Oversight
  Committee, shall have the authority (as provided in the Badlands Liquidating Trust
  Agreement) to abandon and not administer any non-cash asset of the Trust Estate that
  the Trustee determines in the exercise of reasonable business judgment to be burdensome
  to the Trust Estate or of inconsequential value and benefit to the Trust Estate.

         8.8.    Avoidance Actions; Litigation Claims. The Trustee shall be vested with
  standing to pursue any and all Causes of Action, Avoidance Actions, and litigation claims
  to recover assets and money on behalf of the Trust Estate in accordance with the
  following:

                (a)     Pursuant to Code §1123 (b) (3) (B), and except for claims that are
         expressly waived or released by the Plan (including those as to the Released
         Parties), the Trust Estate and the Trustee shall be assigned and subrogated to each
         and every claim, right, demand or cause of action whatsoever of the Debtors, and
         their bankruptcy estates (whether pre- or post-petition) (all of which claims, rights,
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         demands and causes of action are hereby preserved), including, without
         limitation, actions for the avoidance and recovery pursuant to Code §550 of
         transfers avoidable by reason of Code §§ 544, 545, 547, 548, 549, 553(b), and may
         commence or continue in any appropriate court or tribunal, including the
         Bankruptcy Court, legal causes of action for collection of the same.

                 (b)    The Trustee shall exercise the authority granted by the Plan to
         investigate and pursue on behalf of the Trust Estate collection of any actions and
         claims, accounts receivable, and related actions, including the authority to
         compromise and settle any of such claims or actions. No claimant or other party-
         in-interest shall have any entitlement, right or claim against the Trustee, or any of
         its agents, representatives, or employees, with respect to any collection, or failure
         to collect, any such actions or claims for the benefit of the Trust Estate.

                (c)     Any recoveries (net of fees, costs and expenses) made on account of
         Avoidance Actions, Causes of Action, and other litigation Claims shall be
         deposited in the Trust Estate. To the extent that such recoveries constitute
         proceeds of Avoidance Actions or other Causes of Action that do not constitute
         Collateral of any prepetition or postpetition creditor, such recoveries and shall be
         considered additions to the Unencumbered Trust Cash. To the extent that such
         recoveries constitute proceeds of Causes of Action that serve as Collateral for any
         Garrison Secured Claims, such Collateral proceeds shall be distributed to the
         holders of Garrison Secured Claims. To the extent that such recoveries constitute
         proceeds of Causes of Action that do not secure the Garrison Secured Claims, but
         instead secure Secured Tax Claims or Secured Other Claims, such recoveries shall
         be distributed to the applicable holder(s) of such Secured Claims, in order of lien
         priority.

          8.9.    Trustee's Employment of Professionals. The Trustee, in consultation
  with the Trust Oversight Committee, may retain such legal counsel, accountants,
  advisors, professionals or other persons as deemed necessary by the Trustee to assist the
  Trustee in fulfilling its duties hereunder or in exercising any of the Trustee's rights and
  powers hereunder (regardless of whether any such person is related to the Trustee or is
  otherwise affiliated with the Trustee in any manner, except as expressly provided herein).
  To the extent that the Trustee is licensed and capable of doing so, the Trustee may serve
  as its own attorney, accountant and/or tax specialist in conjunction with any of the rights,
  powers and duties of the Trustee under this Plan.

         8.10.    Compensation and Reimbursement of Trustee and Professionals. The
  Trustee or any professionals or any person retained by the Trustee pursuant to this Plan
  shall be entitled to reasonable compensation for services rendered at a rate reflecting
  actual time billed by such Trustee, professional or person on an hourly basis, at the
  standard billing rates for such services in effect at the time of service or such other rate of
  compensation that is reasonable (and shall also be entitled to reimbursement for
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  reasonable, out-of-pocket expenses incurred in connection with the provision of such
  services); provided, however, that the Trustee shall provide the Trust Oversight
  Committee with at least five (5) business days advanced notice before paying any
  compensation to any Trust professionals. Any compensation paid to the Trustee or any
  other Trust professionals may only be paid from Unencumbered Trust Cash. No
  compensation may be paid to the Trustee or other Trust professionals from the Secured
  Tax Claim Reserve, Secured Garrison Claim Reserve, Secured Other Claim Reserve, or
  Wind-Down Reserve without the written consent of GLAS and the Trust Oversight
  Committee.

         8.11.    No Rights In Assets. The assets held by the Trust Estate shall be held by
  the Trustee in trust for the benefit of the Holders of Claims. Consequently, the Plan does
  not create for, or give to, any claimant any direct interest or property right to any of the
  assets held by the Trust Estate, and no Holder of any Claim shall have any rights against
  any such assets until a distribution is made or required to be made to such Holder under
  the Plan.

         8.12.    Tax Treatment. The Trust is intended to be treated, for federal income tax
  purposes, in part as a liquidating trust within the meaning of Treasury Regulations
  section 301.7701-4(d), for the benefit of the Holders of Allowed Claims, and otherwise as
  one or more disputed ownership funds within the meaning of Treasury Regulations
  section 1.468B- 9(b)(1), as more specifically provided for under the Badlands Liquidating
  Trust Agreement. Accordingly, for all federal income tax purposes the transfer of Trust
  Assets to the Trust will be treated as a transfer of the Trust Assets directly from the
  Debtors to the Holders of Allowed Claims and to the reserves established pursuant to the
  Plan, followed by the transfer of such Trust Assets. The Holders of Allowed Claims will
  be treated for federal income tax purposes as the grantors and deemed owners of their
  respective shares of the Trust Assets and any earnings thereon. The Trustee will be
  required by the Badlands Liquidating Trust Agreement to file federal tax returns for the
  Trust as a grantor trust with respect to the portion of the Trust owned by Holders of
  Allowed Claims and as one or more disputed ownership funds with respect the portion
  of the Trust allocable to the claim reserves established hereunder, and any income of the
  Trust will be treated as subject to tax on a current basis. The Badlands Liquidating Trust
  Agreement will provide that the Trustee will pay such taxes from the Trust Assets. In
  addition, the Badlands Liquidating Trust Agreement will require consistent valuation by
  the Trustee and the Beneficiaries (as defined in the Badlands Liquidating Trust
  Agreement), for all federal income tax purposes, of any property transferred to the Trust.
  The Badlands Liquidating Trust Agreement will provide that termination of the trust will
  occur no later than five (5) years after the Effective Date, unless before termination the
  Bankruptcy Court approves an extension based upon a finding that such an extension is
  necessary for the Trust to complete its Claims resolution and liquidating purpose. The
  Badlands Liquidating Trust Agreement also will limit the investment powers of the
  Trustee in accordance with IRS Rev. Proc. 94-45 and will require the Trust to distribute at

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  least annually to the Beneficiaries (as such may have been determined at such time) its
  net income (net of any payment of or provision for taxes), except for amounts retained as
  reasonably necessary to maintain the value of the Trust Assets or to meet Claims and
  contingent liabilities (including Disputed Claims).

         8.13.    Limitation on Liability of Trustee. Subject to applicable law, the Trustee
  shall not be liable for any act it may do or omit to do as Trustee hereunder while acting
  in good faith and in the exercise of its reasonable judgment; nor shall the Trustee be liable
  in any event except for its own gross negligence or willful misconduct. The foregoing
  limitation on liability shall apply equally to the agents and/or employees of the Trustee
  acting on behalf of the Trustee in the fulfillment of the Trustee's duties hereunder.

        8.15.   Funding of the Plan. As of the date of this Plan, the Debtors project that
  the Trust Estate will consist of the following assets, with the associated estimated
  values:

                   Asset                            Estimated Value

                   Cash                                               $10.2 MM
                   Personal Property, including                   $400,000 (est.)
                   accounts receivable
                   Avoidance Actions and                          $750,000 (est.)
                   other litigation claims
                   TOTAL:                                             $11.35 MM

         8.16.    Preservation/Vesting of Rights of Action. Except as expressly released or
  otherwise provided under the Plan, pursuant to Bankruptcy Code section 1123(b), the
  Trust Estate shall be vested on the Effective Date with and shall retain and may enforce
  any and all Avoidance Actions and Causes of Action that the Debtors or their Estates may
  hold or have against any entity, including (i) the Avoidance Actions, (ii) any legal or
  equitable rights to subordinate and/or disallow Claims, (iii) any derivative Causes of
  Action that may be brought by such Debtor; and (iv) any and all other Causes of Action
  of any kind or nature of such Debtor or its Estate that may exist as a consequence of
  applicable bankruptcy law or nonbankruptcy law (collectively, the "Retained Actions").
  Except as expressly released or otherwise provided pursuant to the Plan, or agreed by
  the Trustee in writing, upon the Effective Date, the Trust Estate and only the Trust Estate
  shall have standing to assert the Retained Actions and the Trustee may prosecute
  Retained Actions, abandon Retained Actions, settle Retained Actions, dispose of Retained
  Actions, or assign the right to enforce designated Retained Actions in its sole discretion.
  Notwithstanding the foregoing, the Retained Actions shall not include any Claim, right
  or cause of action released pursuant to the Plan.



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                           EFFECT OF CONFIRMATION

          9.1.    Vesting of Assets. Except as otherwise explicitly provided in the Plan, on
  the Effective Date, all Trust Assets or interest in Trust Assets owned by the Debtors’
  Estates shall revest in the Trust Estate free and clear of all Claims, Liens, charges,
  encumbrances, rights, and interests of creditors and equity security holders. As of and
  following the Effective Date, the Trustee may administer the Trust Estate under the terms
  and conditions of the Badlands Liquidating Trust Agreement, as amended or
  supplemented from time to time, without supervision of the Bankruptcy Court, free of
  any restrictions of the Bankruptcy Code or Bankruptcy Rules, other than those
  restrictions expressly imposed by the Plan and the Confirmation Order.

        9.2.    No Discharge of the Debtors. In accordance with § 1141(d)(3) of the Code,
  the Debtors will not receive any discharge of debt in these bankruptcy cases.

         9.4.     Injunction Against Interference with Plan. Upon the entry of the
  Confirmation Order, all holders of Claims and Interests and other parties in interest,
  along with their respective present or former employees, agents, officers, directors, or
  principals, shall be enjoined from taking any actions to interfere with the implementation
  or consummation of the Plan.

         9.5.     Release by Debtors.

         Without limiting any other applicable provisions of, or releases contained in,
  the Plan, as of the Effective Date, the Debtors, their Estates, and their respective
  successors and assigns and any and all entities who may purport to claim through
  them, shall forever release, waive and discharge the Released Parties of any and all
  Claims, Avoidance Actions, and Causes of Action whether known or unknown,
  foreseen or unforeseen, existing or hereafter arising, in law, equity or otherwise that
  the Debtors or their Estates, would have been legally entitled to assert in their own
  right (whether individually or collectively) or on behalf of any Holder of any Claim or
  other entity, that they have, had or may have against any Released Party existing as of
  the Effective Date in any manner arising from, based on, or relating to, in whole or in
  part, any of the Debtors, any prepetition or postpetition act taken or omitted to be
  taken in connection with or related to or arising out of the Chapter 11 Cases, the subject
  matter of, or the transactions or events giving rise to, any Claim or Interest that is
  treated in the Plan, the business or contractual arrangements between the any of the
  Debtors and any party released under this Section 9.5, the restructuring of Claims and
  Interests prior to or in the Chapter 11 Cases, or any act, omission, occurrence, or event
  in any manner related to any such Claims, Interests, restructuring, or the Chapter 11
  Cases, including but not limited to, any Claim relating to, or arising out of the Chapter
  11 Cases, the administration of the Chapter 11 Cases and all documents or pleadings
  filed herein, the negotiation and filing of the plan, the filing of the Chapter 11 Cases,

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  the formulation, preparation, negotiation, dissemination, filing, implementation,
  administration, confirmation, or consummation of the Plan, the Disclosure Statement,
  exhibits, the Plan Supplement documents, any employee benefit plan, instrument,
  release, or other agreement or document created, modified, amended or entered into in
  connection with the Plan. The reorganized Debtors, Trust, and Trustee shall be bound,
  to the same extent the Debtors are bound, by the releases and discharges set forth
  above; provided, however, that the foregoing provisions of Section 9.5 shall have no
  effect on the liability of any party released hereunder that would otherwise result from
  (a) the failure to perform or pay any obligation or liability under the Plan or any
  contract, instrument, release or other agreement or document to be entered into or
  delivered in connection with the Plan; or (b) any such act or omission to the extent that
  such act or omission is determined in a Final Order to have constituted gross
  negligence or willful misconduct. The Debtors’ releases of GLAS and the prepetition
  lenders follows similar releases that were effective under the Final Order approving
  the DIP Financing Motion, entered on September 14, 2017 [Docket No. 136].

         9.6.     Exculpation.

          Except as otherwise specifically provided in the Plan, exhibits, the Plan Supplement
  or related documents and to the maximum extent permitted by law, none of the Exculpated
  Parties shall have or incur any liability to any Holder of a Claim against or Interest in the
  Debtors, or any other party-in-interest or any of their representatives, or any of their
  successors and assigns, for any act, omission, transaction or other occurrence in connection
  with, relating to, or arising out of the Chapter 11 Cases, the pursuit of confirmation of this
  Plan, or the consummation of this Plan. No Holder of a Claim against or Interest in the
  Debtors, or any other party-in-interest, including their respective representatives,
  successors, or assigns shall have any right of action against the Exculpated Parties for any
  act, omission, transaction or other occurrence in connection with, relating to, or arising out
  of, the Chapter 11 Cases, the pursuit of confirmation of this Plan provided, however, that
  the foregoing provisions of Section 9.6 shall have no effect on the liability of any Exculpated
  Party that would otherwise result from (a) the failure to perform or pay any obligation or
  liability under the Plan or any contract, instrument, release or other agreement or document
  to be entered into or delivered in connection with the Plan; or (b) any such act or omission
  to the extent that such act or omission is determined in a Final Order to have constituted
  gross negligence or willful misconduct. Nothing in this Section 9.6 shall be deemed to
  exculpate or release any Exculpated Party for any acts, omissions, transactions, events or
  other occurrences taking place after the Confirmation Date. Nothing in this Section 9.6 shall
  be deemed to exculpate or release any Exculpated Party to the extent that such exculpation
  or release is prohibited by Rule 1.8(h)(1) of the Colorado Rules of Professional Conduct.

         9.7.     [Reserved].




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                          RETENTION OF JURISDICTION

         10.1.    Jurisdiction of Bankruptcy Court. The Bankruptcy Court shall retain
  jurisdiction of all matters arising under, arising out of, or related to the Chapter 11 Cases
  and the Plan pursuant to, and for the purposes of, sections 105(a) and 1142 of the
  Bankruptcy Code and for, among other things, the following purposes:

               (a)    To hear and determine motions for the assumption, assumption and
         assignment, or rejection of Executory Contracts or Unexpired Leases and the
         allowance of Claims resulting therefrom;

                (b)   To determine any motion, adversary proceeding, application,
         contested matter, and other litigated matter pending on or commenced after the
         Confirmation Date; including, without limitation, any proceeding to recover a
         Cause of Action and Avoidance Actions;

               (c)     To hear, adjudicate, determine and allocate the value(s) of any
         property owned or sold by the Estates and any liens asserted against such
         property; including, without limitation the Sale Proceeds;

              (d)    To ensure that distributions to holders of Allowed Claims are
         accomplished as provided herein;

              (e)    To consider Claims or the allowance, classification, priority,
         compromise, estimation, or payment of any Claim;

                (f)    To enter, implement, or enforce such orders as may be appropriate
         in the event the Confirmation Order is for any reason stayed, reversed, revoked,
         modified, or vacated;

               (g)    To issue injunctions, enter and implement other orders, and take
         such other actions as may be necessary or appropriate to restrain interference by
         any person with the consummation, implementation, or enforcement of the Plan,
         the Confirmation Order, or any other order of the Bankruptcy Court;

                 (h)    To hear and determine any issue or dispute arising under or related
         to the Sale Transactions, however, only to the extent such issue or dispute involves
         the Debtors;

               (i)    To hear and determine any application to modify the Plan in
         accordance with section 1127 of the Bankruptcy Code, to remedy any defect or
         omission or reconcile any inconsistency in the Plan, the Disclosure Statement, or
         any order of the Bankruptcy Court, including the Confirmation Order, in such a
         manner as may be necessary to carry out the purposes and effects thereof;
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                (j)    To hear and determine disputes arising in connection with the
         interpretation, implementation, or enforcement of the Plan, the Confirmation
         Order, any transactions or payments contemplated hereby, or any agreement,
         instrument, or other document governing or relating to any of the foregoing;

                (k)     To take any action and issue such orders as may be necessary to
         construe, enforce, implement, execute, and consummate the Plan or to maintain
         the integrity of the Plan following consummation;

               (l)    To determine such other matters and for such other purposes as may
         be provided in the Confirmation Order;

                (m) To hear and determine matters concerning state, local, and federal
         taxes in accordance with sections 346, 505, and 1146 of the Bankruptcy Code
         (including, without limitation, matters with respect to any taxes payable by a trust
         or reserve established in furtherance of the Plan);

               (n)     To hear and determine any other matters related hereto and not
         inconsistent with the Bankruptcy Code and title 28 of the United States Code;

                (o)    To hear and determine any pending adversary proceedings as of the
         Effective Date (including the Halliburton Adversary);

              (p)     To hear and determine matters concerning or impacting the
         administration of the Trust and the liquidation of the assets of the Trust; and

                 (q)    To enter a final decree closing the Chapter 11 Cases.


                           CRAMDOWN RESERVATION

         11.1.   Nonconsensual Confirmation. If any impaired class fails to accept the
  Plan by the requisite statutory majorities provided in sections 1126(c) and 1126(d) of the
  Bankruptcy Code, as applicable, or if any impaired class is deemed to have rejected the
  Plan, the Debtors reserve the right to undertake to have the Bankruptcy Court confirm
  the Plan under section 1129(b) of the Bankruptcy Code and/or amend the Plan to the
  extent necessary to obtain entry of a confirmation order.


                             OTHER PLAN PROVISIONS

         12.1.    Substantial Consummation. On the Effective Date or as soon thereafter
  as practicable, the Plan shall be deemed to be substantially consummated under sections
  1101 and 1127(b) of the Bankruptcy Code.


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         12.2.    Trust Oversight Committee Reporting. Promptly following request by
  the Trust Oversight Committee, the Trustee shall provide any reports, accountings, and
  other information reasonably requested by the Trust Oversight Committee concerning
  the Trust, the assets of the Trust, and the reconciliation of outstanding Claims.

         12.3.    Exemption from Transfer Taxes. Subject to orders entered by the
  Bankruptcy Court prior to the Confirmation Date authorizing certain sales of real
  property, pursuant to section 1146(c) of the Bankruptcy Code, the assignment or
  surrender of any lease or sublease, or the delivery of any deed or other instrument of
  transfer under, in furtherance of, or in connection with the Plan, including any deeds,
  bills of sale, or assignments executed in connection with any disposition of assets
  contemplated by the Plan shall not be subject to any stamp, real estate transfer, mortgage
  recording, sales, use, or other similar tax.

         12.4.   Payment of Statutory Fees. On the Effective Date, and thereafter as may
  be required, the Trustee shall cause to be paid from the Wind-Down Reserve and other
  Unencumbered Trust Cash all fees payable pursuant to section 1930 of chapter 123 of title
  28 of the United States Code.

         12.5.     Modification of Plan. The Plan may be amended, modified, or
  supplemented by the Debtors in the manner provided for by section 1127 of the
  Bankruptcy Code or as otherwise permitted by law without additional disclosure
  pursuant to section 1125 of the Bankruptcy Code, except as the Bankruptcy Court may
  otherwise direct. In addition, after the Confirmation Date, so long as such action does not
  materially adversely affect the treatment of holders of Claims or Interests under the Plan,
  the Debtors may institute proceedings in the Bankruptcy Court to remedy any defect or
  omission or reconcile any inconsistencies in the Plan or the Confirmation Order, with
  respect to such matters as may be necessary to carry out the purposes and effects of the
  Plan. Prior to the Effective Date, the Debtors may make appropriate technical adjustments
  and modifications to the Plan without further order or approval of the Bankruptcy Court,
  provided that (i) such technical adjustments and modifications do not adversely affect in
  a material way the treatment of holders of Claims or Interests; and (ii) the Debtors
  provide at least three (3) business days notice of any such proposed changes to the
  persons that comprise (or will comprise) the Trust Oversight Committee.

         12.6.   Revocation or Withdrawal of Plan. The Debtors reserve the right to
  revoke or withdraw the Plan at any time prior to the Confirmation Date. If the Debtors
  take such action, the Plan shall be deemed null and void.

         12.7.   Courts of Competent Jurisdiction. If the Bankruptcy Court abstains from
  exercising, or declines to exercise, jurisdiction or is otherwise without jurisdiction over
  any matter arising out of the Plan, such abstention, refusal, or failure of jurisdiction shall
  have no effect upon and shall not control, prohibit, or limit the exercise of jurisdiction by
  any other court having competent jurisdiction with respect to such matter.
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         12.8.    Governing Law. Unless a rule of law or procedure is supplied by federal
  law (including the Bankruptcy Code and Bankruptcy Rules), the laws of (a) the State of
  Colorado shall govern the construction and implementation hereof and any agreements,
  documents, and instruments executed in connection with this Plan and (b) the laws of the
  state of incorporation or organization of a Debtor shall govern corporate or other
  governance matters with respect to that Debtor, in either case without giving effect to the
  principles of conflicts of law thereof.

         12.9.     Exhibits. All exhibits to the Plan are incorporated into and are a part of
  the Plan as if set forth in full herein.

          12.10. Successors and Assigns. All the rights, benefits, and obligations of any
  person named or referred to in the Plan shall be binding on, and shall inure to the benefit
  of, the heirs, executors, administrators, successors, and/or assigns of such person.

         12.11. Time. In computing any period of time prescribed or allowed by the Plan,
  unless otherwise set forth herein or determined by the Bankruptcy Court, the provisions
  of Bankruptcy Rule 9006 shall apply.

         12.12. Severability. If any provision in this Plan is determined to be
  unenforceable, the determination will in no way limit or affect the enforceability and
  operative effect of any other provision of this Plan.

         12.13. Captions. The headings contained in this Plan are for convenience of
  reference only and do not affect the meaning or interpretation of this Plan.




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          12.14. Notices. All notices, requests and demands to or upon the Trustee to be
  effective shall be in writing and, unless otherwise expressly provided herein, shall be
  deemed to have been duly given or made when actually delivered or, in the case of notice
  by facsimile transmission, when received and telephonically confirmed, addressed as
  follows:

           If to the Debtors:

                 BALLARD SPAHR LLP
                 Theodore J. Hartl, #32409
                 1225 17th Street, Suite 2300 South
                 Denver, CO, 80202-5596
                 Telephone: (303) 454-0528
                 Facsimile: (303) 573-1956
                 Email: hartlt@ballardspahr.com


           If to Trustee:

                 WADSWORTH WARNER CONRARDY, P.C.
                 David V. Wadsworth
                 2580 West Main Street, Suite 200
                 Littleton, CO 80120
                 Telephone: (303) 296-1999
                 Facsimile: (303) 396-7600
                 Email: dwadsworth@wwc-legal.com


         12.15. Entire Agreement. Except as otherwise indicated, the Plan supersedes all
  previous and contemporaneous negotiations, promises, covenants, agreements,
  understandings, and representations on such subjects, all of which have become merged
  and integrated into the Plan.




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         Dated: August 7, 2018


                                   Badlands Energy, Inc., Badlands Production
                                   Company, Badlands Energy-Utah, LLC and Myton
                                   Oilfield Rentals, LLC, as Debtors-in-Possession:


                                   By: /s/ Richard Langdon
                                      Richard Langdon, CEO



  BALLARD SPAHR LLP
  Theodore J. Hartl, #32409
  1225 17th Street, Suite 2300 South
  Denver, CO, 80202-5596
  Telephone: (303) 454-0528
  Facsimile: (303) 573-1956
  Email: hartlt@ballardspahr.com

  Attorneys for Debtors Badlands Energy, Inc.,
  Badlands Production Company,
  Badlands Energy-Utah, LLC and
  Myton Oilfield Rentals, LLC




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                                        EXHIBITS

       Exhibit 1 - Badlands Liquidating Trust Agreement




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                                             EXHIBIT 1

                        BADLANDS LIQUIDATING TRUST AGREEMENT

          This Badlands Liquidating Trust Agreement is dated this ___ day of ______________,
  2018 (“Trust Agreement”), and is entered into by and among Badlands Energy, Inc., Badlands
  Production Company, Badlands Energy-Utah, LLC and Myton Oilfield Rentals, LLC, each a
  debtor and debtor-in-possession (collectively, the “Debtors”), and David V. Wadsworth, as
  trustee (the “Trustee”) for the benefit of the creditors of the Debtors identified on the Register of
  Beneficiaries (as defined below).

                                             RECITALS

          A.     On August 11, 2017 (the “Petition Date”), the Debtors filed voluntary petitions
  for relief under chapter 11 of Title 11, U.S.C. (the “Bankruptcy Code”) in the United States
  Bankruptcy Court for the District of Colorado (the “Bankruptcy Court”), captioned as Case Nos.
  (the “Bankruptcy Cases”).

          B.      Before the Petition Date, the Debtors owned interests in oil and gas properties,
  leases, contracts, and related assets, located in the state of Utah.

          C.    On April 6, 2018, the Debtors filed a joint plan of liquidation pursuant to Chapter
  11 of the Bankruptcy Code (as amended or modified from time to time, the "Plan");

         D.     On ____, 2018, the Bankruptcy Court entered an order confirming the Plan (the
  "Confirmation Order");

          E.      The Plan and the Confirmation Order provide for the establishment of this
  Agreement and the appointment of the Liquidation Trustee to administer the Liquidation Trust
  for the benefit of holders of Allowed Claims ("Allowed Claims") under the Plan, and to provide
  administrative services relating to the Plan's implementation;

          F.     The Trust is established pursuant to the Plan and this Agreement as a liquidating
  trust in accordance with Treasury Regulation section 301.7701-4(d) for the sole purpose of
  liquidating the Liquidation Trust Assets, with no objective to continue or engage in the conduct
  of a trade or business except, to the extent reasonably necessary to, and consistent with, the
  liquidating purpose of the Liquidation Trust and the Plan;

          G.      The Liquidation Trust is established for the benefit of the holders Allowed Claims
  that are entitled to receive Distributions from the Liquidation Trust under the Plan (each a
  "Beneficiary" and collectively, "Beneficiaries"); and

         H.     The Liquidation Trust is intended to qualify as a "grantor trust" for US federal
  income tax purposes pursuant to sections 671-677 of the Internal Revenue Code, with the
  Liquidation Trust beneficiaries treated as the grantors and owners of the Liquidation Trust.




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                                            AGREEMENT

         Now, therefore, in consideration of the premises and the mutual promises and agreements
  contained herein and for other valuable consideration the receipt and sufficiency of which are
  hereby expressly acknowledged, the Debtors and the Trustee on behalf of the Beneficiaries
  hereby agree as follows:
                                           ARTICLE I
                                          Defined Terms

         Section 1.01 Terms Defined Above. Each of the terms previously identified in
  quotation marks shall have the meaning set forth above.

          Section 1.02 Additional Defined Terms. The following terms shall have the meanings
  set forth below unless the context otherwise requires:

                    (a)     “Beneficiaries” or “Beneficiary” shall mean either any individual creditor
           or all of the creditors collectively listed in the Register of Beneficiaries.

                  (b)     “Beneficial Interest” shall mean the rights and interests of each of the
           Beneficiaries in and to the Trust Estate.

                    (c)   “Claim” shall have the same meaning as claim amount.

                  (d)     “Claim Amount” shall mean the principal amount owed to each
           Beneficiary, except to the extent a claim amount is a duplication of another claim or is
           unsupportable. As used in this Trust Agreement, Claim Amount does not include
           accrued interest and expenses incurred on the claim.

                    (e)   “Effective Date” shall mean the date of this Trust Agreement.

                   (f)    “Priority” shall mean the priority position of each class of allowed claims
           as established by the Plan.

                  (g)     “Register of Beneficiaries” shall mean a register that contains the names
           and addresses of all Beneficiaries, which shall consist of all of the holders of allowed
           claims against the Debtors in the Bankruptcy Case.

                    (h)   “Trust” shall mean the Badlands Liquidating Trust.

                   (i)    “Trust Administration Expenses” shall mean any and all expenses of
           administering the Trust as provided in Sections 3.4(k) and 3.14, Article V, or elsewhere
           in this Trust Agreement.

                    (j)   “Trust Estate” is defined in Section 5.01.

                    (k)   “Trust Termination Date” is defined in Section 6.08.



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                                            ARTICLE II
                                         Declaration of Trust

         The Debtors and the Liquidation Trustee enter into this Trust Agreement to effectuate the
  Distribution of the Trust Assets to the holders of Allowed Claims pursuant to the Plan and the
  Confirmation Order;

           Pursuant to the Plan and the Confirmation Order, all right, title, and interest in, under, and
  to the Trust Assets shall be absolutely and irrevocably assigned to the Trust and to its successors
  in trust and its successors and assigns;

           TO HAVE AND TO HOLD unto the Trustee and its successors in trust; and

          IT IS HEREBY FURTHER COVENANTED AND DECLARED, that the Trust Assets
  and all other property held from time to time by the Trust under this Agreement and any
  proceeds thereof and earnings thereon are to be held by the Trust and applied on behalf of the
  Trust by the Trustee on the terms and conditions set forth herein and in the Plan, solely for the
  benefit of the holders of Allowed Claims and for no other party.

                                            ARTICLE III
                               Recitals, Definitions, and Interpretation

        Section 3.01 Recitals. The Recitals are incorporated into and made terms of this
  Agreement.

          Section 3.02 Plan Definitions. All terms used in this Agreement but not defined herein
  shall have the same meanings set forth in the Plan.

          Section 3.03 Interpretation, Headings. All references herein to specific provisions of
  the Plan or Confirmation Order are without exclusion or limitation of other applicable provisions
  of the Plan or Confirmation Order. Words denoting the singular number shall include the plural
  number and vice versa, and words denoting one gender shall include the other gender. The
  headings in this Agreement are for convenience of reference only and shall not limit or otherwise
  affect the provisions of this Agreement.

          Section 3.04 Conflict Among Documents. In the event of any inconsistency between
  the Plan or Confirmation Order, as applicable, on the one hand, and this Agreement, on the other
  hand, the Plan or Confirmation Order, as applicable, shall control and take precedence.

                                            ARTICLE IV
                                         Organization of Trust

           Section 4.01 Source. The Beneficiaries are the sole beneficiaries of the Trust.

         Section 4.02 Office. The office of the Trustee shall be at Wadsworth Warner Conrardy,
  P.C., 2580 West Main Street, Suite 200, Littleton, CO 80120, or at such other address as the
  Trustee may from time to time designate.

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          Section 4.03 Appointment of the Trustee. David V. Wadsworth is hereby appointed as
  Trustee of the Trust effective as of the date hereof, to have all the rights, powers and duties set
  forth herein. The Trustee hereby agrees to serve as trustee of the Trust.

         Section 4.04 Irrevocability. The Debtors do not have any right to amend, revise or
  revoke the Trust, and reserves no powers over the Trustee, the Trust Assets, or the Beneficiaries.

         Section 4.05 Effect of Actions. Unless contrary to the provisions of this Trust
  Agreement, all actions taken and determinations made by the Trustee shall be final and binding
  upon all Beneficiaries individually and collectively.

         Section 4.06 Effective Date. The Trust shall be established and become effective upon
  execution of this Trust Agreement pursuant to the Plan and Confirmation Order.

          Section 4.07 Exemption from Registration. The parties to this Trust Agreement intend
  that the rights of the Beneficiaries arising pursuant to this Trust Agreement shall not be
  “securities” under applicable law, but none of the parties represent or warrant that such rights
  shall not be securities or shall be entitled to exemption from registration under applicable
  securities law.

                                           ARTICLE V
                  Authority and Certain Directions to Trustee; Declaration of Trust

           Section 5.01 Creation of the Badlands Liquidating Trust. The Beneficiaries and the
  Debtors hereby create the Badlands Liquidating Trust for the benefit of the Beneficiaries.
  Subject to the provisions of Section 2.2 below, the Debtors hereby irrevocably transfer,
  absolutely assign, convey, set over, and deliver to the Trust, and its successors and assigns, all
  right, title, and interest of the Debtors in and to the Trust Assets, in trust, to and for the benefit of
  the Beneficiaries for the uses and purposes stated herein. The Confirmation Order shall
  automatically vest the Trust Assets in the Trust (the “Trust Estate”) without the need for any
  additional documentation, notice, or acknowledgements; however, to the extent reasonably
  requested by the Trustee, the Debtors shall execute and deliver such other instruments of sale,
  transfer, conveyance, assignment, and confirmation, and will cooperate and take such other
  actions, as are necessary or desirable in order to transfer, convey, and assign all rights, title, and
  interests in and to the Trust Assets to the Trust.

           Section 5.02 Transfer of Trust Assets. Transfer of the Trust Assets to the Trust,
  pursuant to and in accordance with the Plan and this Trust Agreement, shall be deemed a transfer
  to and for the benefit of the Beneficiaries followed by a deemed transfer by the Beneficiaries to
  the Trust to hold in trust for the benefit of the Beneficiaries, except as otherwise provided in the
  Plan or this Trust Agreement. The Beneficiaries shall be treated as the grantors and deemed
  owners of the Trust. Except as otherwise provided by the Plan or this Trust Agreement, upon the
  Effective Date of the Plan, title to the Trust Assets shall pass to the Trust free and clear of all
  liens, claims, encumbrances, and interests, pursuant to Section 1123 of the Bankruptcy Code.

         Section 5.03 Property in the Trust. The Trust shall hold the legal title to all property at
  any time constituting a part of the Trust Estate and shall hold such property in trust to be

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  administered and/or disposed of by it pursuant to the terms of this Trust Agreement and the Plan
  for the benefit of the Beneficiaries. The Trustee shall invest the Trust Assets, or proceeds from
  the Trust Assets, subject to the limitations set forth in 11 U.S.C. 345. The Trustee may make
  such investments in such amounts and at such times as he may deem necessary in his sole and
  absolute discretion, to provide funds when needed to make payment from the Trust Assets. The
  Trustee is authorized to make disbursements and payments from the Trust Estate as described in
  this Agreement.

           Section 5.04 Purpose. The purposes of the Trust include but are not limited to
  authorizing and directing the Trustee to take such action in connection with the Trust Assets to
  distribute available cash, to maximize value by maintaining and preserving the Trust Assets, and
  taking any other lawful action that is consistent with and carries out the objectives of this Trust
  Agreement. The Trustee is hereby authorized and directed: (i) to take all reasonable and
  necessary actions to conserve and protect the Trust Estate; (ii) to the extent necessary and
  appropriate, and except as limited by the Plan, object to Claims asserted against the Trust; and
  (iii) to maintain, operate, lease, or sell or otherwise dispose of the Trust Estate, in accordance
  with the terms of this Agreement, the Plan, and to distribute the net proceeds of such disposition
  to the Beneficiaries, in as prompt, efficient, and orderly a fashion as possible.

         Section 5.05 Acceptance of Trust and Conveyance. The Trustee is hereby directed to,
  and the Trustee accepts the Trust imposed upon him by this Trust Agreement and agrees to
  observe and perform that trust, upon and subject to the terms and conditions set forth in this
  Trust Agreement. Further, the Trustee agrees that he will:

                    (a)   Accept delivery of the Trust Assets on behalf of the Trust;

                  (b)    Accept all bills of sale, deeds, assumptions, and assignments, and any
           other instruments of conveyance reasonably required to be delivered by any of the
           Debtors with respect to the Trust Estate transferred to the Trustee on behalf of the Trust
           pursuant to, or in connection with, the Plan, the Confirmation Order, or this Trust
           Agreement; and

                  (c)     Take such other action as may be required of the Trust hereunder,
           including the receipt and acceptance of the Trust Estate.

          Section 5.06 Title. On the Effective Date, legal title to all Trust Assets shall be vested
  in the Trust in accordance with and pursuant to the terms of the Plan and this Agreement. Except
  as otherwise provided in the Plan, on the Effective Date, the Trustee, on behalf of the Trust, shall
  be: (i) authorized to act as representative of the Debtors’ Estates in respect of any and all claims
  or causes of action that constitute Trust Assets or assets of the Trust Estate (ii) substituted as
  successor to the Debtors (a) in all actions and proceedings pending or thereafter commenced in
  the Bankruptcy Court or elsewhere in regard to the Trust Assets or the Trust Estate, and (b) in all
  actions and proceedings pending or thereafter commenced in the Bankruptcy Court in connection
  with or regarding all Claims.




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                                           ARTICLE VI
                                         Duties of the Trustee

          Section 6.01 Obligations of Trustee. The Trustee shall perform and discharge all
  obligations and duties specifically assigned to him pursuant to the terms of this Trust Agreement
  and the Plan, and such other duties as may be necessary or appropriate in order to carry out and
  implement this Agreement and the Plan. The Trustee shall manage and operate the Trust Assets
  in such a manner as to maximize the value of the Trust Assets pending their final disposition in
  accordance with the Plan and this Trust Agreement.

         Section 6.02 Register of Beneficiaries. The Trustee shall keep the Register of
  Beneficiaries at his principal office. The Trustee may treat the person in whose name any
  beneficial interest in the Trust is registered on the Register of Beneficiaries as the owner of such
  beneficial interest for any and all purposes of the Trust Agreement.

          Section 6.03 No Duties Except as Specified in Trust Agreement or Plan. The Trustee
  shall not have any right, duty, or obligation to manage, make any payment in respect of, register,
  record, sell, dispose of, vary, or otherwise deal with the Trust Assets, or to otherwise take or
  refrain from taking any action under, or in connection with the Trust Assets or any portion
  thereof, except as expressly provided by the terms of this Trust Agreement and the Plan.

          Section 6.04 Powers of the Trustee. The Trustee shall have such rights and powers as
  are set forth in this Trust Agreement and in the Plan in order to carry out and implement the
  purposes and intents of the Trust. The Debtors hereby grant, assign, convey, deliver, delegate
  and set over unto the Trustee and the Trust Estate in trust for the benefit of the Beneficiaries and
  subject to the terms and provision set out in this Trust Agreement and the Plan, all of the
  authority, rights, powers and duties previously vested in the Debtors under the Bankruptcy Code
  and applicable non-bankruptcy law including without limitation such laws to which the Debtors
  or the Trustee is or hereafter may become subject. All powers granted to the Trustee by this
  Trust Agreement are exercisable by the Trustee only in a fiduciary capacity and only in
  furtherance of the administration of the Trust Assets in accordance with this Trust Agreement.
  During the Trustee’s administration of the Trust, and subject to the Plan and this Trust
  Agreement, the Trustee may exercise the following powers and duties:

                   (a)    To hold and retain the Trust Assets in the form in which he or she receives
           the same until its sale or other disposition and to have exclusive, possession, and control
           thereof as permissible under applicable law;

                  (b)   To manage the Trust Assets, to maintain, maximize and preserve the value
           of the Trust Assets and to employ such persons, including former employees and
           members of management of the Debtors, as may be necessary to carry out the purposes of
           the Trust;

                  (c)     To liquidate any non-cash real or personal property associated with the
           Trust Assets and to negotiate with any potential buyer the terms of the sale of the Trust
           Assets or any portion thereof;


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                  (d)     To distribute the Trust Assets, and the proceeds of sales thereof, as
           provided in this Trust Agreement and the Plan;

                   (e)    To open bank deposit and checking accounts, deposit funds therein,
           withdraw funds therefrom and conduct such other banking activities as are necessary for
           the effectuation of the trust set forth herein, and to pay routine and ordinary fees in
           connection therewith;

                   (f)    To select and employ such brokers, banks, institutions, investment
           counsel, attorneys, accountants, appraisers and such other agents as it may deem
           advisable, and to delegate to such agents such of its ministerial duties, rights and powers
           as it deems necessary and appropriate, and to pay reasonable compensation to such
           agents;

                    (g)     To renew and extend the due date of any obligations, and to commence,
           litigate, arbitrate, adjust, defend, abandon, settle or compromise any causes of action
           relating to the Trust Assets on such terms as it may deem advisable;

                   (h)   To institute any action or proceeding at law or in equity for the collection
           of the sums due the Trust or otherwise to advance the interest of the Trust;

                  (i)     To enter into, perform, and exercise rights under contracts binding upon
           the Trust (but not upon the Trustee in his individual or corporate capacity) which are
           reasonably incident to the administration of the Trust and which the Trustee, in the
           exercise of his best business judgment, reasonably believes to be in the best interests of
           the Trust;

                  (j)     To collect and receive any accounts receivable, income, proceeds of sale,
           and distributions derived from or relating to the Trust Estate and to distribute the same to
           the Beneficiaries in accordance with the terms of this Agreement;

                   (k)    To pay any and all reasonably necessary expenses attributable or relating
           to the management, maintenance, operation, preservation, or liquidation of the Trust
           Estate (“Trust Administration Expenses”);

                   (l)     To investigate, file, compromise, settle, withdraw, or litigate in the
           Bankruptcy Court or on appeal (or pursuant to a withdrawal of the reference of
           jurisdiction) objections to Claims filed against the Debtors’ Estates, the Trust Estate or
           the Trust;

                  (m)     To investigate, file, compromise, settle, withdraw, or litigate in
           Bankruptcy Court or other court of competent jurisdiction, any and all causes of action
           belonging to the Trust Estate;

                  (n)      To sue in connection with any matter arising from or related to the Plan or
           this Trust Agreement that affects in any way the rights or obligations of the Trust, the
           Trustee, or the Beneficiaries relating to the Trust Assets;

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                   (o)     To represent the interests of the Beneficiaries in their capacity as
           beneficiaries of the Trust with respect to any matters relating to the Plan, this Agreement,
           or the Trust affecting the rights of such Beneficiaries;

                  (p)     To act as representative of the Debtors’ Estates with respect to the assets
           that constitute the Trust Estate, and to investigate, initiate, prosecute, settle, or
           compromise any and all claims, or causes of action belonging to the Trust Estate;

                  (q)    If the Trust shall become subject to federal income or state tax, the Trustee
           shall have the power, but not the obligation, exercisable at his discretion, to take any
           action reasonably necessary to minimize any adverse federal or state income tax
           consequences to the Beneficiaries resulting from any distribution made by the Trust to
           such Beneficiaries;

  To do any and all other things, not in violation of any other terms of the Plan and this Trust
  Agreement, which, in the reasonable business judgment of the Trustee, are necessary or
  appropriate for the proper liquidation, management, investment, and distribution of the assets of
  the Trust Estate in accordance with the provisions of this Trust Agreement and the Plan.

           Section 6.05 Exculpation of the Trustee. Neither the Trustee nor any officers, directors,
  affiliates, employees, attorneys, consultants, or agents of the Trustee shall have any liability to
  any Beneficiaries or to any other person or entity for (a) the obligations of the Trust or (b) for the
  consequences of their acts and omissions in the performance of their respective duties hereunder
  and under the Plan, including without limitation with respect to any losses incurred on
  investments made by the Trustee in accordance with the terms of the Plan and this Trust
  Agreement, except to the extent such consequences are caused by acts which constitute bad faith,
  willful misfeasance, or gross negligence. Neither the Trustee nor any officers, directors,
  affiliates, employees, attorneys or agents of the Trustee shall have any liability to any of the
  Beneficiaries, collectively or individually, or to any other person for the consequences of any act
  or omission.

          Section 6.06 Trustee Not Acting in Individual Capacity. The Trustee may contract in
  such a manner that the Trustee is exempt from personal liability and that liability is limited to the
  Trust Estate. The Trustee shall not engage in self-dealing, and any material self-dealing shall be
  considered willful. The foregoing notwithstanding, the Trustee shall be personally liable to the
  Trust, Beneficiaries or third parties for bad faith, willful misfeasance, or gross negligence.

           Section 6.07 Beneficiaries.

                  (a)     All cash held by the Trustee from the sale or other disposition of the Trust
           Assets, or from any other source, shall be deposited in a bank account established by the
           Trust and held by the Trustee and if deemed advisable by the Trustee, invested as
           permitted by this Trust Agreement. The Trustee shall keep an accounting of receipts and
           disbursements which shall be available to the Beneficiaries upon written request at all
           reasonable times.



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                  (b)    No Beneficiary shall have the right to dispute the amount or Priority of
           any other Beneficiary’s claim.

                  (c)    The distributions received on Beneficiary Claims under Article V shall be
           in complete and final satisfaction of their Claims and Claim Amounts in the Debtor’s
           Bankruptcy Case. Such distributions are in final and absolute satisfaction of all
           Beneficiary Claims or Claim Amounts.

          Section 6.08 Termination of the Trust. This Trust Agreement and the Trust shall
  terminate and this Trust Agreement shall be of no further force or effect (the “Trust Termination
  Date”) thirty (30) days after the final distribution by the Trustee of all money and other
  properties and proceeds constituting the Trust Assets. Upon termination of the Trust as herein
  provided, the Trustee shall execute and lodge among the records of the Trust an instrument
  setting forth the fact of such termination, and the Trustee shall thereupon be discharged from all
  further liabilities and duties hereunder.

          Section 6.09 Right to Withhold. To the extent that the Trustee is required by applicable
  law to withhold or otherwise deduct any taxes or other governmental charges in respect of any
  distributions made pursuant to the Trust, the Trustee shall be entitled to withhold or deduct the
  amount of such taxes or charges from the gross amount of such distribution and remit the same
  to the appropriate taxing or governmental authority.

         Section 6.10 No Premature Termination. The death, incapacity, insolvency or
  bankruptcy of a Beneficiary during the term of the Trust shall not operate to terminate the Trust,
  nor shall it entitle the representatives or creditors of such Beneficiary to enforce the interests of
  such Beneficiary in any manner other than as provided for in this Trust Agreement.

         Section 6.11 Trust Not An Investment Company. The Trustee shall not take any action
  which might cause the Trust to become subject to the provisions of the Investment Company Act
  of 1940, as amended.

          Section 6.12 Tax Treatment of the Trust. It is anticipated that the Trust will constitute
  either a liquidating trust or a grantor trust owned, within the meaning of section 671 of the
  Internal Revenue Code of 1986, as amended (the “IRC”), entirely by the Beneficiaries. The
  Trustee shall have the right, but not the obligation, to file a ruling request with, or otherwise seek
  guidance or advice from, the Internal Revenue Service or tax counsel as to the proper federal
  income tax classification and treatment of the Trust and, upon receipt of such guidance, shall file
  the appropriate federal, state, and local income tax returns, provide Beneficiaries with the
  appropriate information returns, and, in accordance with such guidance or advice, pay from the
  corpus or income of the Trust (to the extent that it is subject to income taxation) any federal,
  state, or local income tax attributable to the earnings of the Trust. Pending receipt of such
  guidance or advice, the Trustee shall be entitled:

                   (a)    to assume that the Trust is either a liquidating trust, a grantor trust owned
           entirely by the Beneficiaries, or a complex trust taxable under section 641 of the IRC,



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           with each Beneficiary treated as owning a separate and independent share within the
           meaning of section 663(c) of the IRC and the regulations issued thereunder;

                 (b)    to pay from the Trust Assets such federal, state, and local income taxes as
           may be payable in accordance with such assumptions; and

                  (c)   to file all appropriate federal, state, and local income tax returns, and
           provide the Beneficiaries with information statements in accordance with such
           assumptions.

  The taxable year of the Trust shall, unless otherwise required by the IRC, be the calendar year.

          Section 6.13 Bonds. Unless a bond is required by law, no bond shall be required of the
  Trustee hereunder. If a bond is required by law, no surety or security with respect to such bond
  shall be required unless such security is also required by law. If any such bond is required, all
  costs and expenses of procuring any such bond shall be paid by the Trustee as a cost of
  administering the Trust.

          Section 6.14 Costs and Expenses of Trustee. The Trustee shall pay out of the Trust
  Estate all reasonable costs, expenses, and obligations incurred by the Trustee in carrying out his
  duties under this Agreement or in any manner connected, incidental or related to the
  administration of the Trust, without application to the Bankruptcy Court, including, without
  limitation:

                   (a)     Any reasonable fees and expenses of attorneys, accountants, consultants,
           analysts, investment advisors, expert witnesses, insurance adjusters, property managers,
           realtors, brokers, professionals, or other persons whom the Trustee may reasonably deem
           advisable to employ in connection with the Trust, or in their own behalf in accordance
           with the terms of this Agreement;

                  (b)     Any taxes, charges, and assessments which may be owed by, or levied or
           assessed against, the Trust Estate or any property held in trust hereunder; and

                   (c)   Reasonable compensation for the fees performed pursuant to the terms of,
           and in accordance with this Agreement, at the hourly rate set forth in Section 3.15.

           Section 6.15 Compensation of Trustee. The Trustee will be compensated as follows:

                  (a)      The Trustee shall receive $425 per hour, including travel time, as
           compensation, from and after the Effective Date of the Plan, through the earlier of (i) the
           Termination Date, (ii) the appointment of a new trustee for the Trust or (iii) the
           resignation of the Trustee; and

                  (b)     The Trust shall reimburse the Trustee for reasonable, actual, and necessary
           expenses relating solely to the Trustee’s performance of his responsibilities under the
           Agreement.


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                                          ARTICLE VII
                             Successor Trustees and Additional Trustees

           Section 7.01 Resignation. The Trustee may resign at any time without cause by giving
  at least thirty (30) days prior written notice to the Debtors and the Bankruptcy Court. In case of
  the death, disability, dissolution, or resignation of the Trustee, the Debtors may appoint one or
  more successor trustees, subject to Bankruptcy Court approval.

          Section 7.02 Successor Trustee. Any successor Trustee shall execute and deliver to the
  Debtors and the Bankruptcy Court an instrument accepting such appointment, and thereupon
  such successor Trustee, without further act, shall become vested with all the estates, properties,
  rights, powers, duties, and trusts of the predecessor Trustee in the Trust with like effect as if
  originally named the Trustee herein; but nevertheless, upon the written request of such successor
  Trustee, such predecessor Trustee shall execute and deliver an instrument(s) transferring to such
  successor Trustee, upon the trusts herein expressed, all the estates, properties, rights, powers,
  duties, and trusts of such predecessor Trustee, and such predecessor Trustee shall duly assign,
  transfer, deliver, and pay over to such successor Trustee all monies or other property then held or
  subsequently received by such predecessor Trustee upon the trusts herein expressed.

          Section 7.03 Trust Continuance. The death, resignation, incompetency or removal of
  the Trustee shall operate neither to terminate the Trust created by this Agreement nor to revoke
  any existing agency created pursuant to the terms of this Agreement or invalidate any action
  theretofore taken by such Trustee. In the event of the resignation or removal of the Trustee, such
  Trustee shall (i) promptly execute and deliver any such documents, instruments, and other
  writing as may be necessary to effect the termination of such Trustee’s capacity under this
  Agreement, and the conveyance of the Trust Estate then held by such Trustee to the temporary or
  successor trustee; (ii) deliver to the temporary or successor trustee all documents, instruments,
  records, and other writings relating to the Trust or Trust Estate as may be in the possession of
  such Trustee; and (iii) otherwise assist and cooperate in effecting the transfer and assumption of
  his obligations and functions by the temporary or successor trustee.

                                         ARTICLE VIII
                   Payment of Administrative Claims; Distributions to Beneficiaries

         Section 8.01 Administrative Claims. The Beneficiaries acknowledge and agree that for
  the Trust Assets to be transferred to the Trust as contemplated in this Agreement, it is necessary
  to pay Administrative Claims incurred and allowed in the Debtors’ Bankruptcy Cases. Such
  Administrative Claims shall be paid first, from cash on hand, and second, from the proceeds of
  the Trust Assets before distributions to Beneficiaries.

         Section 8.02 Distribution to Beneficiaries. Distributions to Classes 1, 2, and 4 under
  the Debtors’ Plan are to be made as provided in the Plan.




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                                            ARTICLE IX
                                            Miscellaneous

         Section 9.01 Title to Trust Estate. No Beneficiary shall have title to any part of the
  Trust Estate.

           Section 9.02 Sales of Assets of the Trust Estate. Any sale or other conveyance of any
  assets of the Trust Estate, or part thereof, by the Trustee made in accordance with the terms of
  this Agreement, shall bind the Beneficiaries and shall be effective to transfer or convey all right,
  title, and interest of the Trustee and the Beneficiaries in and to such asset of the Trust Estate.

          Section 9.03 Notices. Unless otherwise expressly specified or permitted by the terms of
  the Plan or this Agreement, all notices shall be in writing and delivered by registered or certified
  mail, return receipt requested, or by a hand or facsimile transmission (and confirmed by mail), in
  any such case addressed as follows:


           If to the Trustee:

                    David V. Wadsworth
                    Wadsworth Warner Conrardy, P.C.
                    2580 West Main Street, Suite 200
                    Littleton, CO 80120
                    Telephone: (303) 296-1999
                    Facsimile: (303) 296-7600
                    Email: dwadsworth@wwc-legal.com

           With a copy to:

                    Theodore J. Hartl
                    BALLARD SPAHR LLP
                    1225 17th Street, Suite 2300
                    Denver, CO, 80202-5596
                    Telephone: (303) 454-0528
                    Facsimile: (303) 573-1956
                    Email: hartlt@ballardspahr.com

  And if to any Beneficiary, addressed to its latest mailing address reflected on the Register of
  Beneficiaries.

         Section 9.04 Severability. Any provision of this Agreement which is prohibited or
  unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such
  prohibition or unenforceability without invalidating the remaining provisions thereof, and any
  such prohibition or unenforceability in any jurisdiction shall not invalidate or render
  unenforceable such provision in any other jurisdiction.



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         Section 9.05 Counterparts. This Agreement may be executed in multiple counterparts,
  each of which shall constitute an original, but all of which together shall constitute one and the
  same instrument.

          Section 9.06 Binding Agreement. All covenants and agreements contained herein shall
  be binding upon, and inure to the benefit of, the Trustee and his respective successors and
  assigns and any successor Trustee, his respective successors and assigns, and the Beneficiaries,
  and their respective personal representatives, successors and assigns. Any request, notice,
  direction, consent, waiver, or other instrument or action by any party hereto or any Beneficiary
  shall bind their respective heirs, personal representatives, successors and assigns.

         Section 9.07 Construction. Except where the context otherwise requires, words
  importing the masculine gender shall include the feminine and the neuter, if appropriate; words
  importing the singular number shall include the plural number and vice versa; and words
  importing persons shall include partnerships, associations, limited liability companies, and
  corporations.

          Section 9.08 Execution by Facsimile or Email. Facsimile or e-mail transmissions of an
  executed original of this Trust Agreement and/or retransmission of any executed facsimile or e-
  mail transmission shall be deemed to be the same as the delivery of an executed original.

          Section 9.09 Headings. The headings of the various Articles and Sections herein are
  for convenience of reference only and shall not define or limit any of the terms or provisions
  hereof.

         Section 9.10 Governing Law. Except to the extent that the Bankruptcy Code is
  applicable, this Trust Agreement shall be governed, construed, interpreted and enforced in
  accordance with the substantive laws of the State of Colorado applied to agreements entered into
  and performed entirely within such State.

          Section 9.11 Retention of Bankruptcy Court Jurisdiction. The Bankruptcy Court shall
  retain original and exclusive jurisdiction as provided in the Plan over this Trust, the Trustee, and
  the Trust Assets, including without limitation the determination of all controversies and disputes
  arising under or in conjunction with this Trust Agreement.

          Section 9.12 No Obligation to Register Trust. The Trustee will have no obligation to
  register this Trust pursuant to any requirement of state law.

          Section 9.13 Non-Avoidability of Trust. The Debtors shall not raise, and hereby
  expressly waives, any claim or action to avoid this Trust Agreement, the Trust created hereby,
  and the transfer of the Trust Assets as described herein, as a preference, fraudulent transfer, post-
  petition transaction, or other similar claim.

          Section 9.14 Further Assurances. To the extent necessary, the Debtors agree to execute
  and deliver to the Trustee such instruments to terminate the automatic stay imposed by 11 U.S.C.
  § 362. In addition, each party hereto shall execute all instruments and documents and take all
  actions as may be reasonably required to effectuate this Trust Agreement.

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          Section 9.15 Entire Agreement. This Trust Agreement contains the entire agreement
  between the parties hereto with respect to the subject matter of this Trust Agreement and
  supersedes all prior understandings, agreements, representations, and warranties, if any, with
  respect to such subject matter.

          Section 9.16 Attorney Fees. If a party hereto or beneficiary hereof commences a legal
  proceeding to enforce any of the terms of this Trust Agreement, the prevailing party in such
  action shall have the right to recover reasonable attorney fees and costs from the other party to be
  fixed by the court in the same action.

          Section 9.17 No Strict Construction. All parties hereto have participated jointly in the
  negotiation and drafting of this Trust Agreement. In the event an ambiguity or question of intent
  or interpretation arises under any provision of this Trust Agreement, this Trust Agreement shall
  be construed as if drafted jointly by all parties hereto, and no presumption or burden of proof
  shall arise favoring or disfavoring any party by virtue of the authorship of any of the provisions
  of this Trust Agreement.

                               * * * SIGNATURE PAGE FOLLOWS * * *




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        IN WITNESS WHEREOF, the Trustee and the Debtors have duly executed this Trust
  Agreement as of the day and year first above written.


  TRUSTEE:

  __________________________________
  David V. Wadsworth, in his capacity as
  as Trustee for the Badlands Liquidating
  Trust


  DEBTORS:

  BADLANDS ENERGY, INC.

  By:_____________________________
  Name: Richard Langdon
  Title: President and CEO

  BADLANDS PRODUCTION COMPANY

  By:_____________________________
  Name: Richard Langdon
  Title: President and CEO

  BADLANDS ENERGY-UTAH, LLC

  By:_____________________________
  Name: Richard Langdon
  Title: President and CEO

  MYTON OILFIELD RENTALS, LLC

  By:_____________________________
  Name: Richard Langdon
  Title: President and CEO




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